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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 100REPORTERS, et al.,

                Plaintiffs,

         v.
                                                            Civil Action No. 19-1753 (RDM)
 UNITED STATES DEPARTMENT OF
 STATE,

                 Defendant.


                          MEMORANDUM OPINION AND ORDER

       Plaintiffs 100Reporters, a nonprofit investigative news organization, and Douglas

Gillison, a journalist, bring this action against the United States Department of State

(“Department”) under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552. In December

2017, Plaintiffs submitted two FOIA requests to the Department seeking records related to the

vetting of foreign security personnel pursuant to two statutes commonly referred to as the “Leahy

Laws,” 22 U.S.C. § 2378d and 10 U.S.C. § 362. Plaintiffs’ first request sought all records

“pertaining to the nomination and/or vetting of foreign military and security personnel and/or

units for U.S. training or assistance pursuant to . . . the Leahy laws,” Dkt. 25-3 at 3 (2d Stein

Decl. ¶ 5), although Plaintiffs subsequently narrowed that request to records from the

International Vetting and Security Tracking system created on or after January 1, 2017, that

relate to Iraq, Afghanistan, Egypt, Colombia, Philippines, Cambodia, Mexico, and Bangladesh,

id at 4 (2d Stein Decl. ¶ 8). Plaintiffs’ second request sought “all guides, manuals, instruction or

directions pertaining to” Leahy vetting; the “‘Report on Government Police Training and

Equipping Programs’ submitted to Congress pursuant to § 1235(c) of the Ike Skeleton National
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Defense Authorization Act for Fiscal Year 2011;” and any similar reports “submitted to

Congress in subsequent fiscal years.” Id. at 6–7 (2d Stein Decl. ¶ 21). Defendants searched for

records responsive to both requests and disclosed some records in full or in part and withheld

other records in full. Those withholdings are described in a Vaughn index, which includes fifty

entries. See Dkt. 30-3.

       Pending before the Court are the Department’s motion for summary judgment, Dkt. 25,

and Plaintiffs’ cross-motion for partial summary judgment, Dkt. 26. Plaintiffs do not contest the

Department’s decision to withhold twelve of the records identified in the Vaughn index or to

redact certain information, including telephone numbers and email addresses; nor do they

challenge the adequacy of the Department’s search for records responsive to Plaintiffs’ first

FOIA request. Dkt. 26-1 at 7 n.1. That leaves two general categories of dispute: (1) whether the

Department adequately searched for the reports to Congress that Plaintiffs requested, and (2)

whether the Department has lawfully withheld all or part of thirty-eight records pursuant to

FOIA Exemptions 5, 6, 7(C), 7(E), and 7(F).

       For the reasons explained below, the Court concludes that the Department’s search for

the reports to Congress was inadequate but that the Department has met its burden with respect

to some, although not all, of the withheld and redacted records. The Court, accordingly, will

GRANT in part and DENY in part the Department’s motion for summary judgment and DENY

Plaintiffs’ cross-motion for partial summary judgment.

                                      I. BACKGROUND

A.     The Leahy Laws

       First introduced in an amendment to the 1997 Foreign Operations Appropriations Act

sponsored by Senator Patrick Leahy, see Dkt. 26-3 at 108, the “Leahy Laws” consist of two



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provisions: one that applies to the Department of Defense (“DOD”), 10 U.S.C. § 362 (“Defense

Leahy Law”), and another that applies to the Department of State, 22 U.S.C. § 2378d (“State

Leahy Law”). The Defense Leahy Law prohibits the use of DOD funds for “any training,

equipment, or other assistance for a unit of a foreign security force if the Secretary of Defense

has credible information that the unit has committed a gross violation of human rights.” 10

U.S.C. § 362(a)(1). The prohibition in the Defense Leahy Law, however, does not apply in cases

where “the Secretary of Defense, after consultation with the Secretary of State, determines that

the government of such country has taken all necessary corrective steps, or if the equipment or

other assistance is necessary to assist in disaster relief operations or other humanitarian or

national security emergencies.” Id. § 362(b). The Secretary of Defense may also waive the

prohibition on funds if such a waiver is “required by extraordinary circumstances.” Id. § 362(c).

The Defense Leahy Law requires “consultation with the Secretary of State” to ensure that “full

consideration is given to any credible information available to the Department of State relating to

human rights violations.” Id. § 362(a)(2). In addition, if DOD withholds funds from a foreign

security force under the Defense Leahy Law, the Secretary of Defense must inform “the

appropriate committees of Congress.” Id. § 362(e).

       The State Leahy Law contains a prohibition on funding that closely resembles the

Defense Leahy Law: it provides that “[n]o assistance shall be furnished [under Chapter 32 of

Title 22, ‘Foreign Assistance’] or the Arms Export Control Act to any unit of the security forces

of a foreign country if the Secretary of State has credible information that such unit has

committed a gross violation of human rights.” 22 U.S.C. § 2378d(a). This prohibition does “not

apply,” however, “if the Secretary [of State] determines and reports to” the Senate Committee on

Foreign Relations, the House Committee on Foreign Affairs, and the Senate and House



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Committees on Appropriations “that the government of such country is taking effective steps to

bring the responsible members of the security forces unit to justice.” Id. § 2378d(b). The

Secretary of State is required to establish and maintain procedures to collect, validate, and

preserve vetting information. Id. § 2378d(d). Those procedures must also “ensure that when an

individual is designated to receive United States training, equipment, or other types of

assistance[,] the individual’s unit is vetted as well as the individual.” Id. § 2378d(d)(5). If aid is

withheld under the State Leahy Law, the Secretary of State must, “to the maximum extent

practicable, assist the foreign government in bringing the responsible members of the security

forces to justice.” Id. § 2378d(c). In addition, the Secretary of State is required to adopt

procedures for making “publicly available, to the maximum extent practicable, the identity of

those units for which no assistance shall be furnished pursuant to” the State Leahy Law. Id.

§ 2378d(d)(7).

       Implementation of both Leahy Laws—known as “Leahy vetting”—begins with the State

Department. Dkt. 25-4 at 3 (Blaha Decl. ¶ 6). The Office of Security and Human Rights, within

the Bureau of Democracy, Human Rights, and Labor, acts as the “lead contact . . . for Leahy

vetting policy and workflow issues.” Id. at 4 (Blaha Decl. ¶ 9). Each U.S. embassy also has a

“point of contact with responsibility for oversight of, and compliance with, Leahy vetting

procedures.” Id. When a foreign security force or one of its members is nominated to receive

assistance from DOD or the State Department, the U.S. embassy in the unit’s home country

opens a case in the International Vetting and Security Tracking (“INVEST”) system, which

serves as the “official system of record and medium for conducting Leahy vetting.” Dkt. 26-3 at




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21. 1 The embassy then conducts “consular, political, and other security and human rights

checks,” including checks on the credibility of derogatory information. Dkt. 25-4 at 3 (Blaha

Decl. ¶ 6). If a unit is designated for U.S. assistance, the State Department, “at a minimum, vets

the unit and the unit’s commander.” Id. If an individual is designated for such assistance, the

State Department “vets that individual as well as his or her unit.” Id. In most cases, “an

additional review is conducted by [State] Department analysts in Washington, D.C.” after

embassy officials have conducted checks. Id. When DOD-funded assistance is at issue, the

State Department “conducts Leahy vetting and provides DOD with pertinent derogatory

information,” but “DOD is ultimately responsible for [its] compliance with the [Defense] Leahy

law.” Id.

B.     Plaintiffs’ FOIA Requests

       Plaintiff 100Reporters is a nonprofit investigative news organization in Washington, D.C.

Dkt. 1 at 2 (Compl. ¶ 3). Plaintiff Douglas Gillison is a journalist who previously reported for

100Reporters; he now reports for Agence France-Presse. Id. (Compl. ¶ 5). According to

Plaintiffs, their reporting has “revealed instances in which United States assistance or training

was given to individuals or units of the security forces of a foreign country despite credible

information that the individual or unit committed a gross violation of human rights, contrary to

the Leahy Laws’ requirements.” Id. at 6 (Compl. ¶ 19). Through FOIA requests and this suit,

Plaintiffs “seek to inform the public about Leahy [v]etting generally, specific examples of




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 The INVEST system was replaced with a different system in October 2019. Dkt. 30-4 at 2 &
n.1 (2d Blaha Decl. ¶ 5). The responsive records at issue in this case predate that transition,
however. For present purposes, then, the Court refers to the INVEST system as the relevant
database for conducting Leahy vetting.

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individuals or units that have undergone Leahy [v]etting, and possible violations of the Leahy

Laws.” Id. at 8 (Compl. ¶ 23).

       On December 15, 2017, Plaintiffs filed two FOIA requests with the State Department. In

their first request, Plaintiffs sought “all records prepared, collected or maintained by the [State

Department] pertaining to the nomination and/or vetting of foreign military and security

personnel and/or units for U.S. training or assistance pursuant to . . . the Leahy Laws.” Dkt. 25-6

at 2 (Ex. B). This request included “[a]ll entries in the State Department’s International Vetting

and Security Tracking [s]ystem, also known as INVEST, . . . and all records [that] system[] may

contain.” Id. On March 19, 2018, Plaintiffs narrowed their first request to records from the

INVEST system “from January 1, 2017 to present that are responsive to their original FOIA

request for the following countries: Iraq, Afghanistan, Egypt, Mexico, Colombia, Philippines,

Cambodia, and Bangladesh.” Dkt. 25-7 at 2 (Ex. C).

       In their second FOIA request, Plaintiffs sought:

       [1.] Copies of all guides, manuals, instructions or directions pertaining to the
       vetting of foreign military and security personnel and/or units under statutes
       commonly known as the Leahy Laws provided by the Bureau of Democracy,
       Human Rights and Labor at the U.S. Department of State . . . to State
       Department staff and/or to U.S. embassies, consulates, missions, or other foreign
       posts from January 1, 2014 to the date on which processing of this request
       commences; and

       [2.] The “Report on Government Police Training and Equipping Programs”
       submitted to Congress pursuant to § 1235(c) of the Ike Skelton National Defense
       Authorization Act for Fiscal Year 2011 and copies of all “Reports on
       Government Police Training and Equipping Programs” submitted to Congress
       in subsequent fiscal years.

Dkt. 25-9 at 2 (Ex. E).

       On July 19, 2018, Plaintiffs filed an administrative appeal with respect to both FOIA

requests, asserting that the Department had unlawfully failed to make determinations within the



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statutory time limits prescribed in FOIA. Dkt. 25-3 at 5 (2d Stein Decl. ¶ 12). In response, the

Department informed Plaintiffs that the requests were not subject to administrative appeal

because the Department had not “denied any information in response to [Plaintiffs’] requests.”

Id. (2d Stein Decl. ¶ 13). On June 17, 2019, Plaintiffs brought this FOIA action. See Dkt. 1

(Compl.).

       Between October 15, 2019 and December 31, 2020, the Department processed and

released records related to Plaintiffs’ second FOIA request. See Dkt. 25-3 at 8–9 (2d Stein Decl.

¶¶ 27–37). As relevant here, the Department invoked FOIA Exemptions 5, 6, 7(C), and 7(E) to

withhold certain records in full or in part. Dkt. 26-3 at 1 (Singh Decl. ¶ 3).

       With respect to Plaintiffs’ first FOIA request, on January 17, 2020, the Department

released fourteen Excel spreadsheets from the INVEST system for the eight countries that

Plaintiffs had identified. Id. at 1–2 (Singh Decl. ¶ 4). The Department invoked Exemptions 5, 6,

and 7(C) to withhold certain information from those spreadsheets. Id. A week later, the

Department informed Plaintiffs that it had inadvertently failed to redact information from two of

the spreadsheets released on January 17, which should have been withheld pursuant to FOIA

Exemption 7(F) on the ground that “disclosure would endanger the life or physical safety of

an[y] individual.” Dkt. 25-8 at 11 (Ex. D). Those two spreadsheets contained information

regarding Leahy vetting in Egypt and Iraq. Id. The Department asked Plaintiffs to “delete or

destroy all copies of those two spreadsheets,” including any copies posted on “any websites.” Id.

In response, Plaintiffs asserted that the Department had not “provided a legal basis for . . .

insist[ing] that [they] destroy or return any records they obtained from the agency in response to

their FOIA request,” and they “d[id] not believe there [was] a legal basis for the agency to make

such an extraordinary request.” Id. at 4 (Ex. D). Plaintiffs further represented that they



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“intend[ed], in good faith, to take [the Department’s concerns] into consideration when

determining how, if at all, to use the Iraq and Egypt spreadsheets released to them on January 17

in connection with their reporting.” Id. On February 19 and April 9, 2020, the Department sent

corrected versions of the Egypt and Iraq spreadsheets and reiterated its request that Plaintiffs

delete the unredacted versions or, “at a minimum, do not distribute or publicly release the now-

redacted information.” Id. at 2 (Ex. D).

       The matter is now before the Court on the parties’ cross-motions for summary judgment.

Dkt. 25; Dkt. 26.

                                    II. LEGAL STANDARD

       The “general philosophy” of FOIA is “full agency disclosure.” U.S. Dep’t of Def. v. Fed.

Labor Rels. Auth., 510 U.S. 487, 494 (1994) (quoting Dep’t of the Air Force v. Rose, 425 U.S.

352, 360 (1976)). Upon receiving a FOIA request, an agency must disclose all responsive

records to the requestor unless those records fall within one of nine statutory exemptions. Id.;

see 5 U.S.C. § 552(b). “These exemptions are ‘explicitly made exclusive’ and must be ‘narrowly

construed.’” Milner v. Dep’t of the Navy, 562 U.S. 562, 565 (2011) (first quoting EPA v. Mink,

410 U.S. 73, 79 (1973); then quoting FBI v. Abramson, 456 U.S. 615, 630 (1982)).

       When an agency withholds records based on a FOIA exemption, it bears the burden of

justifying its withholding. See Fed. Open Mkt. Comm. of the Fed. Rsrv. Sys. v. Merrill, 443 U.S.

340, 352 (1979); Loving v. Dep’t of Def., 550 F.3d 32, 37 (D.C. Cir. 2008). That requires the

agency to submit either “relatively detailed and non-conclusory” affidavits or declarations

explaining why a document was withheld, SafeCard Servs., Inc. v. SEC, 926 F.2d 1197, 1200

(D.C. Cir. 1991) (quotation marks omitted), or an index that further elucidates, on a document-

by-document basis, the rationale for the FOIA exemptions claimed (a “Vaughn index”), Vaughn



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v. Rosen, 484 F.2d 820, 827–28 (D.C. Cir. 1973). “The description and explanation the agency

offers should reveal as much detail as possible as to the nature of the document, without actually

disclosing information that deserves protection.” Oglesby v. U.S. Dep’t of the Army, 79 F.3d

1172, 1176 (D.C. Cir. 1996).

       “To withhold a responsive record, an agency must show both that the record falls within a

FOIA exemption . . . and,” in most cases, “that the agency ‘reasonably foresees that disclosure

would harm an interest protected by [the] exemption.’” Machado Amadis v. U.S. Dep’t of State,

971 F.3d 364, 370 (D.C. Cir. 2020) (alteration in original) (quoting 5 U.S.C.

§ 552(a)(8)(A)(i)(I)). Moreover, because “the focus of . . . FOIA is information, not documents,

. . . an agency cannot justify withholding an entire document simply by showing that it contains

some exempt material.” Mead Data Cent., Inc. v. U.S. Dep’t of the Air Force, 566 F.2d 242, 260

(D.C. Cir. 1977). Rather, FOIA requires the agency to release “[a]ny reasonably segregable

portion of a record . . . after deletion of the portions which are exempt.” 5 U.S.C. § 552(b).

“Before approving the application of a FOIA exemption, the district court must make specific

findings of segregability regarding the documents to be withheld.” Sussman v. U.S. Marshals

Serv., 494 F.3d 1106, 1116 (D.C. Cir. 2007).

       FOIA cases are typically resolved on motions for summary judgment. See, e.g.,

Beltranena v. U.S. Dep’t of State, 821 F. Supp. 2d 167, 175 (D.D.C. 2011). To prevail on a

summary judgment motion, the moving party must demonstrate that there are no genuine issues

of material fact and that she is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(a);

Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). In FOIA cases, “summary judgment may be

granted on the basis of agency affidavits if they contain reasonable specificity of detail rather

than merely conclusory statements, and if they are not called into question by contradictory



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evidence in the record or by evidence of agency bad faith.” Jud. Watch, Inc. v. U.S. Secret Serv.,

726 F.3d 208, 215 (D.C. Cir. 2013) (quotation marks and alterations omitted). Accordingly,

“[s]ummary judgment is warranted when the agency’s affidavits ‘describe the justifications for

nondisclosure with reasonably specific detail, demonstrate that the information withheld

logically falls within the claimed exemption, and are not controverted by either contrary

evidence in the record nor by evidence of agency bad faith.’” Elec. Frontier Found. v. U.S.

Dep’t of Just., 739 F.3d 1, 7 (D.C. Cir. 2014) (quoting Miller v. Casey, 730 F.2d 773, 776 (D.C.

Cir. 1984)).

       The Court reviews an agency’s decision to withhold records or portions thereof de novo.

See 5 U.S.C. § 552(a)(4)(B).

                                          III. ANALYSIS

       In its motion for summary judgment, the Department argues that (1) it undertook a good

faith effort to search for all records responsive to Plaintiffs’ FOIA requests, and (2) it “released

all reasonably segregable records and withheld only information that is properly exempt from

release under FOIA Exemptions 5, 6, 7(C), 7(E)[,] and 7(F).” Dkt. 25-1 at 8–9. In support, the

Department proffers the declaration of Eric F. Stein, Director of the Office of Information

Programs and Services at the State Department, Dkt. 25-3; the declaration of Charles O. Blaha,

the Director of the Office of Security and Human Rights (“SHR”) within the Bureau of

Democracy, Human Rights, and Labor (“DRL”) at the State Department, Dkt. 25-4; and other

materials, including a thirty-page Vaughn index, Dkt. 25-5 (Ex. A).

       In response, Plaintiffs argue that the Department (1) failed to conduct an adequate search

for the “Report on Government Police Training and Equipping Programs” submitted to Congress

pursuant to section 1235(c) of the Ike Skelton National Defense Authorization Act for Fiscal



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Year 2011 and all such “Reports on Government Police Training and Equipping Programs”

submitted to Congress in subsequent fiscal years; (2) improperly withheld records pursuant to

FOIA Exemption 7 because they were not compiled for a “law enforcement purpose;” (3)

improperly invoked Exemptions 5, 6, 7(C), and 7(E) to withhold responsive records in full and in

part; and (4) failed to satisfy FOIA’s “foreseeable harm” provision with respect to each of its

withholdings. Dkt. 26-1 at 6–7. In addition, Plaintiffs argue that the Department’s motion for

summary judgment with respect to information inadvertently released in the Iraq and Egypt

spreadsheets is moot in light of the Department’s inadvertent release of the information at issue.

Id. at 7.

        The Court first considers whether the Department conducted an adequate search for the

congressional reports Plaintiffs requested and then turns to whether the Department properly

withheld all or portions of the thirty-eight records that remain in dispute.

A.      The Adequacy of the Department’s Search

        “An agency has an obligation under FOIA to conduct an adequate search for responsive

records.” Ewell v. U.S. Dep’t of Just. 153 F. Supp. 3d 294, 301 (D.D.C. 2016). The adequacy of

an agency’s search “is judged by a standard of reasonableness.” Weisberg v. U.S. Dep’t of Just.,

745 F.2d 1476, 1485 (D.C. Cir. 1984). In other words, the agency must conduct a search that is

“reasonably calculated to uncover all relevant documents.” Valencia-Lucena v. U.S. Coast

Guard, 180 F.3d 321, 325 (D.C. Cir. 1999) (quoting Truitt v. Dep’t of State, 897 F.2d 540, 542

(D.C. Cir. 1990)). The agency bears the burden of showing “that it made a good faith effort to

conduct a search for the requested records, using methods which can be reasonably expected to

produce the information requested.” Oglesby, 920 F.2d at 68. It need not demonstrate, however,

that it located every document that the FOIA requester expected (or hoped) the agency might



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find; that is, “the adequacy of a search is ‘determined not by the fruits of the search, but by the

appropriateness of [its] methods.’” Hodge v. FBI, 703 F.3d 575, 579 (D.C. Cir. 2013) (alteration

in original) (quoting Iturralde v. Comptroller of the Currency, 315 F.3d 311, 315 (D.C. Cir.

2003)). But, “if an agency has reason to know that certain places might well contain responsive

documents, it is obligated under FOIA to search [those places] barring an undue burden.”

Valencia-Lucena, 180 F.3d at 327.

       In their second FOIA request, Plaintiffs sought:

       The “Report on Government Police Training and Equipping Programs”
       submitted to Congress pursuant to §1235(c) of the Ike Skelton National Defense
       Authorization Act for Fiscal Year 2011 and copies of all “Reports on
       Government Police Training and Equipping Programs” submitted to Congress
       in subsequent fiscal years.

Dkt. 26-5 at 4 (Ex. 1). In developing its search plan, the Department determined that three

bureaus were “reasonably likely to have documents responsive to [this] request.” Dkt. 25-3 at 10

(2d Stein Decl. ¶ 40). First, the Department identified DRL, which includes SHR, which is “the

component within DRL responsible for managing and conducting the Department’s Leahy

vetting procedures.” Id. at 11 (2d Stein Decl. ¶ 42). Within SHR, a “Leahy Advisor . . .

conducted a search of DRL’s shared electronic drive using the following separate search terms:

‘Manuals’; ‘Guides’; ‘Instructions’ or ‘Directions,’” using the date range January 1, 2010, to

August 12, 2019, “the date on which the searches were conducted.” Id. (2d Stein Decl. ¶ 44).

       Second, the Department identified the Bureau of International Narcotics and Law

Enforcement Affairs, which works to “reduce the amount of crime and illegal drugs reaching

U.S. shores.” Id. at 12 (2d Stein Decl. ¶ 45). Four officials in the Bureau’s “Office of

Knowledge Management” conducted searches of their “unclassified email records,” “individual

electronic drive[s],” and “the office’s shared electronic drive” using some combination of the



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following search terms: “‘Leahy guide’; ‘Leahy manual’; ‘Leahy instructions’; ‘Leahy

directions’; or ‘Report on Government Police Training and Equipping Programs.’” Id. at 12–13

(2d Stein Decl. ¶¶ 46–49). Those officials used the date range January 1, 2011, to August 7,

2019. Id.

       Finally, the Department identified the Bureau of Counterterrorism as a source

“reasonably likely” to have responsive records. Id. at 10 (2d Stein Decl. ¶ 40). The Deputy

Director of that Bureau manually reviewed her “classified and unclassified email records” in

subfolders titled “legal issues,” “implementers,” and “admin.” Id. at 14 (2d Stein Decl. ¶ 51).

She also conducted searches of her individual electronic drive and the office’s shared electronic

drive using the following search terms: “Leahy; ‘Leahy guide’; ‘Leahy manual’; ‘guidance on

vetting’; Skelton; ‘Report on Government Police Training and Equipping Program’; ‘Danen’ (the

last name of the . . . officer who circulated the report for clearance in May 2016); or ‘Report on

Police Training.’” Id. The Deputy Director used the date range September 2015, “the date [she]

began in her position,” to August 12, 2019, the date she conducted her search. Id.

       According to the Department’s Vaughn index, these searches turned up only one

document even arguably relevant to Plaintiffs’ request for Reports on Government Police

Training and Equipping Programs submitted to Congress: an “undated draft memorandum from

the former Executive Secretary of the Department . . . to the former Executive Secretary of

[DOD].” Dkt. 30-3 at 2. The subject of the memorandum is “Department of State Submission:

Report to Congress on U.S. Government Police Training and Equipping Programs.” Id.

According to the Vaughn index, the document “is in draft form: it is undated, uncleared, and

contains markings from the template on which it was based.” Id. The Department withheld the

document pursuant to FOIA Exemption 5, invoking the deliberate process privilege. Id.



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       Plaintiffs argue that the Department’s search for the reports to Congress that Plaintiffs

described in their FOIA request was inadequate because the Department failed to search the

Bureau of Legislative Affairs. Dkt. 26-1 at 13–15. According to Plaintiffs, “[i]t is undisputed

that at least one such ‘Report on Government Police Training and Equipping Programs’ was

submitted from State to Congress in FY 2016,” id. at 14, yet the Department failed to search the

files of the Bureau of Legislative Affairs, which is the office in which “final reports transmitted

to Congress are likely to be found,” id. (emphasis omitted). In support of their contention that

the State Department submitted the Report on Government Police Training and Equipping

Programs to Congress, Plaintiffs cite a report from the House Committee on Armed Services,

H.R. Rep. No. 114-102 (2015), which accompanied the Fiscal Year 2016 National Defense

Authorization Act, see Dkt. 26-1 at 14.

       Plaintiffs misread the House Committee report. As the Department explains, the House

Committee report first notes that, in 2012, Congress “received a one-time Presidential report on

U.S. Government policy training and equipping programs” pursuant to Section 1235(c) of the Ike

Skelton National Defense Authorization Act for Fiscal Year 2011. Dkt. 30 at 8; see also H.R.

Rep. No. 114-102, at 256. After highlighting the “value of this report in providing the relevant

congressional committees with a comprehensive, whole-of-government survey and assessment”

of the relevant programs, the House Committee report “directs the Secretary of Defense, in

coordination with the Secretary of State, the Secretary of Homeland Security, and the Attorney

General of the United States, to submit an update to this report to the congressional defense

committees.” H.R. Rep. No. 114-102, at 256. In sum, the 2011 legislation required the

President to submit the required congressional report, Pub. L. No. 111-383, § 1235(c), and the

subsequent House Committee report directed the Secretary of Defense “to submit an update



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report,” H.R. Rep. No. 114-102, at 256. Thus, in the words of the State Department’s declarant,

the “congressional records cited by Plaintiffs . . . in no way indicate that State was responsible

for providing the sought-after reports to Congress, and in fact suggest to the contrary that

another Executive Branch agency was responsible for compiling and communicating those

reports.” Dkt. 30-2 at 4 (Weetman Decl. ¶ 8) (emphasis added).

       Having dispensed with the premise of Plaintiffs’ argument, the State Department goes on

to explain that the Bureau of Legislative Affairs “advises the Secretary [of State], the Deputy

Secretary, the Under Secretaries, and the Assistant Secretaries on legislative strategy, and

facilitates effective communication between State officials and Members of Congress and their

staffs.” Id. at 3 (Weetman Decl. ¶ 7). It does not, however, coordinate communications between

other Executive Branch agencies and Members of Congress; rather, the Bureau of Legislative

Affairs’ “involvement in Department action is limited to situations where the Department itself

communicates directly with Congress.” Id. As a result, the State Department posits that “it

would be unreasonable to expect [Bureau of Legislative Affairs] involvement . . . unless State

was required to and actually did communicate directly with Congress,” id.—and there is no

evidence that the State Department was, in fact, required to or did communicate directly with

Congress regarding the reports at issue.

       Against this background, the Court is persuaded that the Department reasonably

determined that it was unlikely that any responsive records were maintained by the Bureau of

Legislative Affairs. Indeed, Plaintiffs seem to concede as much in their reply brief, shifting their

argument (without acknowledging their change of direction) to complain that the Department

erred by failing to “search the Office of the Secretary of State.” Dkt. 32 at 7. That late-raised

argument has greater currency, because the President could only have prepared the initial Report



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on Government Police Training and Equipping Programs with input from the State Department,

Pub. L. No. 111-383, § 1235(c), and because the House Committee report directed the Secretary

of Defense to prepare his report “in coordination with the Secretary of State,” along with two

other cabinet officers, H.R. Rep. No. 114-102, at 256. The Department responds to this new

argument in a sur-reply, arguing that Plaintiffs waived the argument and that, in any event,

Plaintiffs offer no “reason to second-guess” the Department’s assessment of the offices likely to

have had any involvement in the drafting process. Dkt. 35 at 1–2.

       Although raised late, the Court will nevertheless consider Plaintiffs’ contention that the

Department should have conducted a search of the Office of the Secretary for copies of the

Reports on Government Police Training and Equipping Program for three reasons. First, the

Department filed a sur-reply and, accordingly, has had the opportunity to respond to Plaintiffs’

argument. Second, “[i]n order to obtain summary judgment the agency must show that it made a

good faith effort to conduct a search for the requested records, using methods which can be

reasonably expected to produce the information requested,” Oglesby, 920 F.2d at 68, and, here,

Plaintiffs timely invoked the House Committee report, which requires the Secretary of Defense

to coordinate with the Secretary of State, Dkt. 26-1 at 14. As a result, the record before the

Court does not unambiguously support the Department’s motion for summary judgment. That

matters because Rule 56 “makes clear[] [that] judgment [should be] granted only after the

District Court satisfies itself that the record and any undisputed material facts justify granting

summary judgment,” Winston & Strawn, LLP v. McLean, 843 F.3d 503, 507 (D.C. Cir. 2016).

Third, even when a party “fails to properly address another party’s assertion of fact,” Rule 56(e)

authorizes the Court to provide that party with “an opportunity to properly support or address the

fact.” Fed. R. Civ. P. 56(e).



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       On the existing record, the Court cannot conclude that the Department has carried its

burden of demonstrating that copies of the requested reports are unlikely to be found in the

Office of the Secretary. The House Committee on Armed Services directed the Secretary to

work in coordination with the Secretary of Defense in preparing the 2016 report, and, even if this

direction was not enacted into law, see INS v. Chadha, 462 U.S. 919 (1983), it undoubtedly drew

the attention of responsible Executive Branch officials. The substance of the report, moreover,

touches on sensitive matters of foreign policy and the ongoing role of the State Department as

“the lead U.S. agency for the implementation of U.S. foreign assistance programs,” including

“police training and equipping activities.” Dkt. 26-3 at 181. It is thus far from evident that the

offices that the Department did search were more likely to maintain copies of the reports than the

Office of the Secretary. But, on the other hand, because Plaintiffs raised this issue late in the

process, arguably limiting the Department’s ability to offer controverting evidence, the Court

cannot conclude that Plaintiffs are entitled to summary judgment at this stage of the proceeding.

       The Court will, accordingly, deny both the Department’s motion and Plaintiffs’ cross-

motion for summary judgment with respect to the adequacy of the search in this one limited

respect. 2 In all other respects, the Court concludes that the Department’s searches were

adequate.




2
  The Court notes that Plaintiffs’ second FOIA request seeks only the reports “submitted to
Congress” and does not request drafts or proposed inserts. Dkt. 26-5 at 4. As a result, the
further search required by this decision is unlikely to impose any significant burden on the
Department.

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B.     The Agency’s Withholdings

       Plaintiffs challenge the Department’s withholding of thirty-eight responsive records

pursuant to FOIA Exemptions 5, 6, and 7. 3 The Court will consider each exemption in turn.

       1.      Exemption 5

       Plaintiffs argue that the Department improperly invoked FOIA Exemption 5 to withhold

twenty-eight documents: Documents 1, 6, 11–12, 14, 16, 19, 23–24, 28–44, 45, and 50.

Exemption 5 permits the withholding of “inter-agency or intra-agency memorandums or letters

that would not be available by law to a party other than an agency in litigation with the agency.”

5 U.S.C. § 552(b)(5). Courts have construed this exemption to encompass “the privileges

available to Government agencies in civil litigation.” U.S. Fish & Wildlife Serv. v. Sierra Club,

Inc., 141 S. Ct. 777, 783 (2021); see also Tax’n with Representation Fund v. IRS, 646 F.2d 666,

676 (D.C. Cir. 1981). This includes “materials which would be protected under the attorney-

client privilege, the attorney work-product privilege, or the executive ‘deliberative process’

privilege.” Id. (citations omitted) (quoting Coastal States Gas Corp. v. Dep’t of Energy, 617

F.2d 854, 862 (D.C. Cir. 1980)). In this case, the Department relies on the deliberative process

privilege to justify its invocation of Exemption 5.

       The deliberative process privilege protects “documents ‘reflecting advisory opinions,

recommendations[,] and deliberations comprising part of a process by which governmental

decisions and policies are formulated.’” NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 150



3
  The Department’s Vaughn index describes fifty documents, each of which is assigned a number
from 1 to 50. See Dkt. 30-3 (revised Vaughn index). In their cross-motion for partial summary
judgment, Plaintiffs clarify that they do not challenge the Department’s withholding of twelve
records reflected in the index as Documents 2–5, 7–10, 13, 15, and 48–49. See Dkt. 26-1 at 7
n.1. To avoid confusion, however, the Court will continue to reference each document according
to the number it is assigned in the Vaughn index.

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(1975) (quoting Carl Zeiss Stiftung v. V.E.B. Carl Zeiss, Jena, 40 F.R.D. 318, 324 (D.D.C.

1966)). The “privilege rests on the obvious realization that officials will not communicate

candidly among themselves if each remark is a potential item of discovery and front page news,

and its object is to enhance the quality of agency decisions, by protecting open and frank

discussion among those who make them within the Government.” Dep’t of the Interior v.

Klamath Water Users Protective Ass’n, 532 U.S. 1, 8–9 (2001) (quotation marks and citations

omitted). “Manifestly, the ultimate purpose of this long-recognized privilege is to prevent injury

to the quality of agency decisions.” Sears, 421 U.S. at 151.

       To properly invoke the privilege, an agency must demonstrate that the withheld record is

both predecisional and deliberative. See U.S. Fish & Wildlife Serv., 141 S. Ct. at 785–86. In

practice, these requirements “tend to merge.” Access Reps. v. Dep’t of Just., 926 F.2d 1192,

1195 (D.C. Cir. 1991). A record is predecisional if it was “generated before the adoption of

agency policy,” Coastal States Gas Corp., 617 F.2d at 866, and “if it was prepared in order to

assist an agency decisionmaker in arriving at his decision, rather than to support a decision

already made,” Petrol. Info. Corp. v. U.S. Dep’t of the Interior, 976 F.2d 1429, 1434 (D.C. Cir.

1992) (quotation marks omitted). A record is deliberative, meanwhile, if it “reflects the give-

and-take of the consultative process.” Coastal States Gas Corp., 617 F.2d at 866; see also Tax

Analysts v. IRS, 117 F.3d 607, 616 (D.C. Cir. 1997); Jud. Watch, Inc., v. Dep’t of Energy, 412

F.3d 125, 129 (D.C. Cir. 2005). When invoking the privilege, therefore, an “agency must

establish what deliberative process is involved, and the role played by the documents in issue in

the course of that process.” Senate of P.R.ex rel. Judiciary Comm. v. U.S. Dep’t of Just., 823

F.2d 574, 585–86 (D.C. Cir. 1987) (quotation marks omitted). The agency must also explain

“the nature of the decisionmaking authority vested in the office or person issuing the disputed



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document(s), and the positions in the chain of command of the parties to the documents.” Arthur

Andersen & Co. v. IRS, 679 F.2d 254, 258 (D.C. Cir. 1982) (quotation marks and citations

omitted). Finally, the foreseeable-harm requirement applies with special force to deliberative

process withholdings under Exemption 5, which Congress viewed as posing particular risks of

“overuse.” Ctr. for Investigative Reporting v. U.S. Customs & Border Prot., 436 F. Supp. 3d 90,

106 (D.D.C. 2019) (quoting H.R. Rep. No. 114-391, at 10 (2016)).

       “[A] document can lose its predecisional character—and the protections of the

privilege—if an agency adopts the document as its own.” Jud. Watch, Inc. v. U.S. Dep’t of Def.,

847 F.3d 735, 739 (D.C. Cir. 2017). “To adopt a deliberative document,” however, “it is not

enough for an agency to make vague or equivocal statements implying that a position presented

in a deliberative document has merit; instead, the agency must make an ‘express[]’ choice to use

a deliberative document as a source of agency guidance.” Id. (quoting Sears, 421 U.S. at 161);

see also Afshar v. Dep’t of State, 702 F.2d 1125, 1142 (D.C. Cir. 1983). Documents that reflect

an agency’s “working law”—that is, “opinions and interpretations which embody the agency’s

effective law and policy”—also remain unshielded by Exemption 5. Sears, 421 U.S. at 153

(quotation marks omitted); see also Tax’n with Representation Fund, 646 F.2d at 667 (explaining

that Exemption 5 does not “protect communications that implement an established policy of an

agency”). As the D.C. Circuit has explained, an agency may not develop a “a body of ‘secret

law,’ used by it in the discharge of its regulatory duties and in its dealings with the public, but

hidden behind a veil of privilege because it is not designated as ‘formal,’ ‘binding,’ or ‘final.’”

Schlefer v. United States, 702 F.2d 233, 244 (D.C. Cir. 1983) (quoting Coastal States Gas Corp.,

617 F.2d at 867). Finally, Exemption 5 does not, of course, protect “final agency actions that




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constitute statements of policy or final opinions that have the force of law, or which explain

actions that an agency has already taken.” Tax’n with Representation Fund, 646 F.2d at 677.

               a.      Documents 1 and 45

       Documents 1 and 45 are draft documents that the Department withheld in full pursuant to

Exemption 5. Document 1 is an undated draft memorandum from the former Executive

Secretary for the State Department to the former Executive Secretary for DOD. Dkt. 30-3 at 1.

The subject of the memorandum is “Department of State Submission: Report to Congress on

U.S. Government Police Training and Equipping Programs.” Id. According to the Department’s

Vaughn index, the memorandum “is in draft form: it is undated, uncleared, and contains

markings from the template on which it was based.” Id. The Department invokes the

deliberative process privilege to withhold Document 1 in its entirety “because it is both

predecisional (it predates any final memorandum sent to [DOD]) and deliberative (it reveals the

drafter’s preliminary, uncleared thoughts about what information should be included in the

memorandum).” Id.

       Document 45 is a draft letter from an official within the Department’s Bureau of

International Narcotics and Law Enforcement Affairs to an official at the U.N. Office on Drugs

and Crime (“UNODC”). Id. at 27. The draft letter “provides an update on Leahy vetting

requirements for specific participants of a certain UNODC program.” Id. It is “in draft form and

contains edits in redline and comment bubbles.” Id. The Department maintains that the letter is

subject to the deliberative process privilege because “it is both predecisional (it predates any

final letter sent to UNODC) and deliberative (it reveals the drafter’s preliminary, uncleared

thoughts about what information should be included in the letter.)” Id. at 28.




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       Plaintiffs contend that the Department has failed to meet its burden with respect to these

records because it has not “specif[ied] whether th[e] records or portions thereof have been

adopted as the agency’s final position or policy.” Dkt. 26-1 at 17. Relying on the doctrine of

agency adoption, see Afshar, 702 F.2d at 1142, Plaintiffs argue that because the Department has

failed to specify whether the agency adopted all or portions of Documents 1 and 45, the Court

will be “unable to determine whether the record or portions thereof have lost their predecisional

status,” Dkt. 26-1 at 17. Plaintiffs assert that the Department “bears the burden of demonstrating

that records designated as drafts have not subsequently been adopted,” and, according to

Plaintiffs, the Department failed to carry that burden here. Id.

       In response, the Department argues that Plaintiffs mischaracterize its burden with respect

to agency adoption; it contends that “the agency ‘does not carry the burden of proving that each

withheld document was not adopted formally or informally.’” Dkt. 30 at 11 (quoting Heffernan

v. Azar, 317 F. Supp. 3d 94, 122 (D.D.C. 2018)); see also Sec. Fin. Life Ins. Co. v. Dep’t of

Treasury, Civil No. 03-102, 2005 WL 839543, at *7 (D.D.C. Apr. 12, 2005); United States v.

Phillip Morris USA, Inc., 218 F.R.D. 312, 317 (D.D.C. 2003). The Department further argues

that, “[i]n any event, [it] has sufficiently shown that both documents have markings that are only

contained on draft documents and that neither document would have been adopted as a final

agency decision in that form.” Dkt. 30 at 11–12.

       The parties fail to join issue on the dispositive question as to the allocation of the burden

of proof. Plaintiffs are correct that, in general, an agency that withholds a record based on a

FOIA exemption bears the burden of justifying that withholding. See Fed. Open Mkt. Comm. of

the Fed. Rsrv. Sys., 443 U.S. at 352. And the Department is correct that a handful of decisions

from this Court have held that an agency does not bear the burden of proving that each document



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that it has withheld pursuant to Exemption 5 was not adopted in a final agency decision or

policy. See Heffernan, 317 F. Supp. 3d at 122; Sec. Fin. Life Ins. Co., 2005 WL 839543, at *7;

Phillip Morris USA, 218 F.R.D. at 317. Any apparent tension between these propositions is

resolved by the understanding that, yes, the agency bears the burden of justifying its withholding,

and that, no, that does not mean that the agency must trace the lineage of each draft or evidently

deliberative record to ensure that the agency did not, at some point, adopt the predecisional

record, “formally or informally, as the agency position on an issue or . . . in its dealings with the

public.” Coastal States Gas Corp., 617 F.2d at 866.

       What the agency must do to carry its burden is provide the Court with a reasoned and

sound basis for concluding that the record at issue was—and remained—predecisional. As Judge

Katzmann explained for the Second Circuit in National Council of La Raza v. Department of

Justice, 411 F.3d 350 (2d Cir. 2005), that inquiry is necessarily context specific, id. at 358–59.

In that case, the Second Circuit drew a distinction between the facts of Renegotiation Board v.

Grumman Aircraft Engineering Corp., 421 U.S. 168 (1975), and the La Raza case. In Grumman

Aircraft, the Supreme Court held that the Renegotiation Board had not adopted “reports prepared

by two subordinate divisions” of the agency because (1) the Board was not bound to accept those

recommendations or the reasoning contained in them; (2) the Board merely reached a “‘yes or

no’ determination without providing any reasoning at all;” and (3) there was no reason to infer—

and no evidence to show—that the Board adopted the reasoning of either report, even if it agreed

with its conclusion. 411 F.3d at 358–59. In La Raza, in contrast, the Second Circuit held that

the Department of Justice had adopted an Office of Legal Counsel memorandum, when it (1)

“embraced the [Office of Legal Counsel’s] reasoning as its own;” (2) “repeatedly invoked the

[Office of Legal Counsel] [m]emorandum to assure those outside of the agency that its policy



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was lawful;” and (3) used the memorandum “to justify what a third party—‘state and local law

enforcement’—should and could lawfully do.” Id. at 359.

       Against this backdrop, the Court concludes that garden-variety deliberative records will

not, in most cases, invite a reasonable inference that the draft or recommendation was ultimately

adopted by the agency and, accordingly, will not put the agency to the “burden” of tracing the

records’ lineage to put any doubt to rest. When an agency employee who is separated by

multiple levels of review from the ultimate decisionmaker, for example, sends an email to a

colleague raising questions about a proposal in its early stages of review—at least in most

cases—the agency can safely assume that the email was not adopted by the agency in a final

decision or operative policy. On the other end of spectrum, a memorandum prepared for the

decisionmaker’s signature that bears the date of the final decision, that is on letterhead, and that

contains no edits or marginalia might reasonably invite further inquiry as to whether the

unsigned memorandum constituted, as a matter substance if not form, the operative agency

decision or policy. Cf. Canning v. U.S. Dep’t of State, 346 F. Supp. 3d 1, 26 (D.D.C. 2018).

Finally, on rare occasion, an agency might, after diligent investigation, be unable to determine

whether such a seemingly final or near-final document was ultimately issued, without change, as

the agency’s final decision or policy. Under those unusual circumstances, “[r]equiring disclosure

based on that lack of knowledge would have the precise chilling effect on the ‘uninhibited’

exchange of views and recommendations that the deliberative process privilege is designed to

protect,” Canning v. U.S. Dep’t of State, 453 F Supp. 3d 332, 338 (D.D.C. 2020) (quoting

Coastal States Gas Co., 617 F.2d at 866), and might therefore support invocation of the

deliberative process privilege.




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       Applying these principles here, the Court concludes that the Department must do more to

support its contention that Document 1 is protected by the deliberative process privilege but that

it has done enough to satisfy its burden with respect to Document 45. Document 1 is an undated

draft memorandum from the State Department’s Executive Secretary to the Defense

Department’s Executive Secretary titled “Department of State Submission: Report to Congress

on U.S. Government Police Training and Equipping Programs.” Dkt. 30-3 at 2. That title refers

(at least in part) to the precise report that Plaintiffs sought in the second FOIA request.

Moreover, because the role of the State Department’s Executive Secretariat includes “handl[ing]

. . . relations with . . . other Cabinet agencies,” About Us – Executive Secretariat,

https://www.state.gov/about-us-executive-secretariat/ (last visited Apr. 22, 2022), and does not

include implementation of the Leahy Laws, see Dkt. 25-3 at 10 (2d Stein Decl. ¶ 40), one might

reasonably infer that the Executive Secretary was merely charged with conveying the State

Department’s “[s]ubmission” to DOD for inclusion in the final report. To be sure, it is possible

that changes were made before the submission was sent to DOD, and it is not at all clear that

DOD merely inserted the State Department’s submission in the report that was submitted to

Congress. See 5 U.S.C. § 552(b)(5) (stating that the exemption extends to “inter-agency . . .

memorandums”). But the prospect that the State Department’s “submission” was submitted to

Congress without change warrants further investigation by the Department and requires further

evidence before the Court can conclude that the Department has carried its burden for purposes

of summary judgment.

       The Department’s description of Document 45, in contrast, is sufficient to support the

Department’s motion for summary judgment. Unlike Document 1, it is clear from that

description that the letter is, in fact, a working draft. As the Vaughn index explains, the draft



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letter “contains edits in redline and comment bubbles.” Dkt. 30-3 at 27. The Department

represents, moreover, that the comments reflect the “drafter’s preliminary, uncleared thoughts

about what information should be included in the letter.” Id. Comments of that type fall

squarely within the deliberative process privilege, and the Court can discern no basis to infer (or

even to suspect) that the Department adopted the “drafter’s preliminary, uncleared thoughts” as

its final decision or policy. Indeed, even if the deciding official agreed with each of the

comments, revealing the back-and-forth that led to that decision differs in dispositive respects

from revealing the final decision or policy; it shows where the drafter agreed and disagreed with

the earlier version of the letter. Revealing that back-and-forth would run counter to “the obvious

realization that officials will not communicate candidly among themselves if each remark is a

potential item of discovery and front page news.” Klamath, 532 U.S. at 8–9.

       The Court also agrees with the Department that disclosure of the withheld materials

would cause foreseeable harm, potentially chilling agency discussion on sensitive topics related

to Leahy vetting that may follow as a result. Finally, the Court is persuaded that the Department

conducted a sufficient review of Document 45 to determine whether any portion may be

segregated from exempt portions and released.

       The Court will, accordingly, deny the Department’s motion for summary judgment

without prejudice with respect to Document 1; grant the Department’s motion with respect to

Document 45; deny Plaintiff’s motion for summary judgment without prejudice with respect to

Document 1; and deny Plaintiff’s motion with respect to Document 45.

               b.      Documents 31–44

       Documents 31 through 44 are spreadsheets exported from the Department’s INVEST

database for Afghanistan, Mexico, Colombia, Philippines, Cambodia, Bangladesh, Egypt, and



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Iraq. Dkt. 30-3 at 24–26. Until October 2019, the INVEST database was “the official system of

record and medium for conducting Leahy vetting.” Dkt. 26-3 at 25; see also Dkt. 30-4 at 2 n.1

(2d Blaha Decl.). When a Leahy vetting began, “a corresponding case would be opened in the

. . . INVEST database.” Dkt. 30-4 at 2 (2d Blaha Decl. ¶ 5). The spreadsheets exported from the

INVEST database contain 24 columns of information. See Dkt. 30-3 at 24. The Department has

redacted information from four columns in the spreadsheets with the following labels: “INDV

ID/UNIT ID”; “NAME”; “JOB TITLE/RANK”; and “NOTES.” Id. at 24–26. The Department

invokes Exemption 5 only with respect to the “NOTES” columns. Id.; see also Dkt. 30-4 at 2

(2d Blaha Decl. ¶ 5). According to one declaration, the “NOTES” columns contain information

relating to: “(1) the status of the vetting action; (2) any milestones reached during the vetting

process; (3) any substantive or logistical issues encountered while processing; and/or (4) an

interim or final determination and the rationale underlying that interim or final determination.”

Dkt. 30-4 at 2 (2d Blaha Decl. ¶ 5).

       Another of the Department’s declarants, Susan Weetman, reviewed a sample of entries in

the “NOTES” columns and elaborated on the kinds of information they contain. First, “the vast

majority of the cells contain descriptions of major milestones in the vetting process dated prior to

a final vetting determination, if any.” Dkt. 30-2 at 5 (Weetman Decl. ¶ 11). Second, “certain

‘NOTES’ entries noted a candidate’s final vetting determination, if any (i.e. whether a given

candidate was ‘Approved’ or “Rejected’).” Id. at 6 (Weetman Decl. ¶ 12). Notably, the

Weetman declaration concedes that this information “would not be predecisional insofar as it

reflects the Department’s final determination” but argues that “individually reviewing each entry

within the ‘NOTES’ cells in order to segregate any final determination information for release

would require an enormous investment of Department resources, and the end result would not



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reveal any additional information” because each candidate’s final determination also appears in

the “STATUS” column, which was disclosed in full. Id. (Weetman Decl. ¶ 12). Third, some

cells contain “information about the Department’s rationale for approving or rejecting the

candidate.” Id. (Weetman Decl. ¶ 13). The Weetman declaration states that this information is

properly withheld under Exemptions 6, 7(C), and 7(E). Id. at 6–7 (Weetman Decl. ¶¶ 14–15).

Finally, a “small subset of the entries in certain ‘NOTES’ cells reflect deliberations that occurred

as a final vetting determination was being made but that related to further intra-agency

deliberations, such as about whether and how to convey that final determination to foreign

government officials.” Id. at 8 (Weetman Decl. ¶ 16).

       Plaintiffs raise three challenges to the Department’s invocation of Exemption 5 to

withhold the “NOTES” columns. Plaintiffs first take issue with the Department’s statement that

the notes are “generally entered” before final decisions about eligibility are made. Dkt. 26-1 at

18 (quoting Dkt. 30-3 at 24). That “generalized assertion,” according to Plaintiffs, “does not

demonstrate that [the notes] are, in fact, predecisional.” Id. Relatedly, Plaintiffs further argue

that the Department’s explanation that the notes “assist[] the Department in tracking and

reaching a final decision about [an] individual’s eligibility for [funding],” shows that it is “highly

likely that some—if not all—of [the] information [in the ‘NOTES’ columns] has been adopted

by the agency, or otherwise reflects a ‘final decision’ of the agency” that must be disclosed. Id.

Finally, Plaintiffs argue that the Department has failed to demonstrate that the information in the

“NOTES” columns is deliberative because it has provided “no information[] whatsoever[] about

the specific deliberative process purportedly at stake, or the role these notes purportedly play in

that process.” Id. at 19.




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       In response, the Department does not dispute that at least some of the entries in the notes

field were made after a final decision was made. But, in the Department’s view, that does not

end matters because its “categorical approach” was “born out of necessity:” the spreadsheets

contain “more than 160,000 rows of information,” and “[a]pproximately 45,000 of those rows

include an entry in the ‘NOTES’ column.” Dkt. 30 at 13; see also Dkt. 30-4 at 3 (2d Blaha Decl.

¶ 6). Given this volume, the Department maintains that “[i]t would be overly burdensome for [it]

to review and describe each separate entry” in its Vaughn index. Dkt. 30 at 13. The Department

also takes issue with Plaintiffs’ suggestion that much, “if not all,” of the material in the notes

field has been adopted in final, agency determinations. Id.; see also Dkt. 26-1 at 18. To the

contrary, it insists that “the vast majority of the ‘NOTES’ cells . . . do not contain information

compiled after a final vetting determination has been made” and that the Department “frequently

makes interim vetting determinations, which result in the vetting process either being cancelled

or suspended.” Dkt. 30 at 13. When the process is cancelled or suspended, “no final decision

has been made with regard to the individual’s eligibility to receive U.S. assistance, because the

vetting process may restart or resume if additional clarifying information becomes available.”

Id.; see also Dkt. 30-4 at 3–4 (2d Blaha Decl. ¶¶ 8–10). Finally, the Department disputes

Plaintiffs’ contention that its invocation of the deliberative process privilege lacks sufficient

detail to sustain the privilege. Citing the Weetman declaration, the Department explains that

“[t]he specific deliberative process implicated by [most of the notes field entries] is the process

through which Department officials gathered information relevant to a Leahy vetting

determination, discussed and evaluated that information in light of both statutory and internal

guidance related to the Leahy vetting procedure as well as applicable definitions regarding the

forms of conduct that could constitute a gross violation of human rights, and formulated their



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rationale for making both interim and final Leahy vetting determinations.” Dkt. 30 at 14 (citing

Dkt. 30-2 at 5–6 (Weetman Decl. ¶ 11)).

        The Department’s position faces two hurdles, either of which is sufficient to preclude

entry of summary judgment in the Department’s favor. First, according to the Department, “the

vast majority of [the] entries [in the notes field] . . . predate the final determination and . . .

instead reflect the various milestones achieved during the vetting process prior to a final

determination.” Dkt. 30 at 13. What this assertion leaves unanswered is whether some or all of

this information is factual. There is a significant difference, for example, between an entry

indicating that a criminal history check was completed and an entry expressing an opinion about

the criminal history check or making a recommendation based upon it. “Factual material that

does not reveal the deliberative process,” of course, “is not protected,” Morley v. CIA, 508 F.3d

1108, 1127 (D.C. Cir. 2007) (quoting Paisley v. CIA, 712 F.2d 686, 698 (D.C. Cir. 1983)), and it

seems unlikely that every “milestone” in the vetting process, regardless of how routine it is,

would reveal agency deliberations.

        Second, the Court is unpersuaded by the Department’s contention that it was not required

to review potentially responsive and non-exempt records because doing so “would be overly

burdensome.” Dkt. 30 at 13. To start, the Department’s reference to the 160,000 rows of

information contained in the INVEST spreadsheets is impressive but irrelevant for present

purposes. As the Department concedes, only “45,000 of those rows include an entry in the

‘NOTES’ column,” id., and neither the Department nor Plaintiffs have even hinted that there is

reason to review all 160,000 rows. To be sure, 45,000 rows is still substantial, but it is not

uncommon for a FOIA request to impose a substantial burden on the responding agency. Indeed,

in another FOIA case pending before this Court, a government agency has been tasked with



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reviewing a spreadsheet containing 57,000 rows and 50 columns of information. See

Supplemental Declaration of Fernando Pineiro at 4–5, Am. First Legal Found. v. U.S. Dep’t of

Homeland Sec., Civil No. 21-2168 (D.D.C. filed Apr. 1, 2022) (Dkt. 13-1). In that case, the

government maintains that it will take almost 500 hours for it to complete the review, but—

unlike here—it has not argued that the magnitude of that task renders the FOIA request

unenforceable. See id. at 7 n.8.

        More importantly, the only precedent the Department cites in support of its undue-burden

argument stands for the unremarkable proposition that “[t]here is no set format for a Vaughn

index; it is the function of the document that matters, not the form.” Dkt. 30 at 13 (quoting Jud.

Watch v. Exp.-Imp. Bank, 108 F. Supp. 2d 19, 34 (D.D.C. 2000)). Although true, that does

nothing to advance the Department’s argument. The Court agrees that preparing a Vaughn index

containing tens of thousands of entries may prove unduly burdensome and that the Department

can likely explain and justify any withholdings by addressing categories of entries. But that does

not relieve the Department of its obligation to ensure that it is withholding only those records

that fall within a FOIA exemption. Nor is the Court persuaded that it is unnecessary for the

Department to review the entries in the notes field because a separate column in the “INVEST

spreadsheet[s] lists the candidate’s status as ‘Cancelled’ or ‘Suspended.’” Id. By the

Department’s own account, the notes field, at least at times, includes the agency’s “rationale for

making . . . final Leahy vetting determinations.” Id. at 14. The information is not otherwise

available, and it lies at the core of what Plaintiffs seek to discover. Burden alone cannot relieve

the Department of its obligation to sort the predecisional from the postdecisional entries and to

release the latter.




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       The Court will, accordingly, deny the Department’s motion for summary judgment with

respect to the non-deliberative material contained in the notes field of the INVEST spreadsheets.

But because much of the material at issue is likely deliberative, the Court will also deny

Plaintiffs’ cross-motion for summary judgment without prejudice. Until the Department

conducts the necessary review, which the Court recognizes may take months if not years to

complete, it is premature for the Court to pass on which, if any, materials are deliberative.

               c.      Document 12

       Document 12 is an “intra-agency email exchange between officials in [DRL, including

SHR] and [the Bureau of International Narcotics and Law Enforcement Affairs].” Dkt. 30-3 at 8.

In the only portion of the email chain that Plaintiffs challenge, see Dkt. 32 at 11 n.4, an SHR

official gives “practical and logistical advice . . . about certain practices [a] Foreign Service

Officer and her office may want to implement in order to help navigate the Leahy vetting

process,” Dkt. 30-3 at 9. According to the Department’s Vaughn index, “[t]hose discussions do

not reflect official Department guidance about how the Leahy vetting process works, but rather

reflect candid, uncleared, and unofficial discussions and recommendations between Department

officials about practical techniques that may help them navigate the vetting process.” Id.

       Plaintiffs contend that this withheld portion of the email chain should be disclosed

because the Department has not described “what deliberative process is involved, the role played

by the document[] in issue in the course of that process, [and] the nature of the decisionmaking

authority vested in the . . . person issuing the disputed document[].” Dkt. 32 at 11 (quoting

Hardy v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 243 F. Supp. 3d 155, 168 (D.D.C.

2017) (cleaned up)). According to Plaintiffs, “navigating the Leahy vetting process is not a

discrete decision making process, [and] the privilege does not protect government employees’



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conversations about best practices for ensuring compliance with existing policies.” Id.

(quotation marks omitted). Rather, “it protects ‘deliberations comprising part of a process by

which governmental . . . policies are formulated.’” Id. (quoting Hardy, 243 F. Supp. 3d at 164).

Thus, “[t]o the extent [Document 12] merely discusses the agency’s positions of law or policy it

is not entitled to protection and must be disclosed.” Dkt. 26-1 at 19.

       Because the portion of the email chain at issue does not merely discuss law or policy

already adopted but, rather, provides “uncleared[] and unofficial discussions and

recommendations . . . about practical techniques [for] the vetting process,” Dkt. 30-3 at 9, the

Department’s reliance on Exemption 5 is well founded. As explained above, the deliberative

process privilege “rests on the obvious realization that officials will not communicate candidly

among themselves if each remark is a potential item of discovery and front page news, and its

object is to enhance ‘the quality of agency decisions,’ by protecting open and frank discussion

among those who make them within the Government.” Klamath Water Users Protective Ass’n,

532 U.S. at 8–9 (citation omitted) (quoting Sears, 421 U.S. at 150)). Consistent with that

purpose, the privilege protects the “exercising [of] policy-implicating judgment,” Petrol. Info.

Corp., 976 F.2d at 1435, and not merely recommendations relating to “a discrete” decision or

“comprising part of” a specific policy-making process, Dkt. 32 at 11–12 (quotation marks

omitted). The purpose of facilitating “open and frank discussion among those who make”

decisions within the government, Klamath Water Users Protective Ass’n, 532 U.S. at 9, would

not be served by exposing candid, subjective advice shared between Department officials about

how best to apply the Leahy Laws, see 100Reporters LLC v. DOJ, 316 F. Supp. 3d 124, 152

(D.D.C. 2018) (“Documents that provide suggestions regarding ongoing agency processes are

more likely to be predecisional.”). The Court also agrees with the Department that disclosure of



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the withheld materials would cause foreseeable harm, potentially chilling agency discussion on

sensitive topics related to Leahy vetting that may follow as a result. Finally, the Court is

persuaded that the Department has released all segregable portions of Document 12.

       The Court will, accordingly, grant the Department’s motion and deny Plaintiff’s motion

with respect to Document 12.

               d.      Documents 6, 11, 23, and 29

       Documents 6, 11, 23, and 29 are email chains in which State Department personnel

discuss ongoing Leahy vetting processes for particular units and individuals. Document 6 is an

“intra-agency email exchange between officials in DRL and officials at Embassy Rangoon” in

which the officials “discuss the ongoing Leahy vetting process for certain Burmese law

enforcement personnel, including discussions about whether the Department has credible

intelligence indicating that the law enforcement personnel should be cleared to receive assistance

or should be rejected.” Dkt. 30-3 at 4. “In particular, the officials discuss potentially derogatory

information that one of the Department’s Leahy vetters found in connection with specific units

and individuals who had been nominated to receive assistance, including discussions about the

credibility of that information and the impact that the information would have on the results of

the Leahy vetting.” Id. Document 11 is a similar exchange “between officials in DRL, [the

Bureau of International Narcotics and Law Enforcement Affairs], and at Embassy Hanoi,” in

which “the officials discuss the ongoing Leahy vetting process for specific Vietnamese law

enforcement personnel.” Id. at 6. Document 23 is a similar exchange in which Department

officials seek advice about “the criteria for determining whether the Leahy Laws apply to a




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particular group of prosecutors.” 4 Id. at 16. Finally, Document 29 “is an email chain among

Department officials regarding certain units and/or sub-units allegedly associated with potential

[gross violations of human rights] in Tajikistan. The discussion primarily relates to the Tajik

Drug Control Agency . . . and the Tajik Criminal Investigation Department.” Id. at 21.

       Plaintiffs argue that the deliberative process privilege does not apply to these email

chains because the records “appear to do nothing more than reflect an application of preexisting

agency policy, in contrast to reflecting that policy’s development.” Dkt. 26-1 at 19–20. As

Plaintiffs explain, “[t]he State Department has a detailed, comprehensive policy that dictates how

it conducts Leahy [v]etting prior to approving the provision of training or other assistance to

foreign personnel [and] that policy outlines, inter alia, who must be vetted and how information

about gross violations of human rights . . . is determined to be credible.” Id. at 20. Thus,

according to Plaintiffs, “[e]ven assuming it is predecisional, such material is not deliberative; it

merely reflects application of preexisting, clearly defined State Department policy.” Id. at 20.

       The Department counters that “the decisions at issue in Documents 6, 11, 23, and 29 do

not relate to the Department’s determinations about how to define the term ‘gross violation of

human rights,’ how Leahy vetting should generally proceed, what sorts of information

Department personnel should consider during that process, or any of the other procedural

considerations suggested by Plaintiffs.” Dkt. 30 at 16. But, “even if the Department had made a

final decision as of the time of these communications about the process that Leahy vetting

should take and the types of behaviors that in the abstract may constitute gross violations of

human rights, the withheld communications contained in these four documents are nonetheless



4
 Plaintiffs do not challenge a portion of this document in which officials discuss proposed
changes to the Leahy Vetting Guide. Dkt. 32 at 12 n.5.

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[deliberative] because they are focused on how a real-life fact pattern should be treated within

the context of those established definitions and processes, and predate any final determination on

that issue.” Id.

       The Department has the better of the arguments. As an initial matter, the Court notes that

Exemption 5 does not merely protect deliberations over the formulation of generally applicable

agency policies; it also protects deliberations regarding discrete agency decisions applying those

policies, at least where those decisions involve some exercise of discretion. See, e.g., Wash.

Rsch. Project, Inc. v. Dep’t of Health, 504 F.2d 238, 249–52 (D.C. Cir. 1974) (holding that the

deliberative process privilege covered documents reviewed by National Institute of Mental

Health personnel in a grant application and approval process, applying their “personal

perspective on the material being summarized”). The deliberative process privilege, accordingly,

protects the Department’s predecisional, deliberative communications regarding whether specific

security units should be approved in Leahy vetting.

       To be sure, if the application of the established policy to the facts were purely

mechanical, involving no judgment or discretion, the Department would be hard pressed to

characterize that process as deliberative. But that is not the case here. Rather, as the 2017 Leahy

Vetting Guide explains:

       Under the State Leahy Law, no assistance authorized under the Foreign
       Assistance Act or the Arms Export Control Act “shall be furnished . . . to any
       unit of the security forces of a foreign country if the Secretary of State has
       credible information that such unit has committed a gross violation of human
       rights.” . . . .

       State has interpreted the term “credible information” to mean information that
       is sufficiently believable that a reasonable person would rely on such
       information in their decision making process. . . . The term “credible
       information” has appeared in other provisions of law and is a low evidentiary
       standard. . . . .



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         No single factor should be considered determinative own its own. A credibility
         determination with respect to a particular piece of information is a judgment
         call based on all the facts and circumstances relevant to that piece of
         information. Information from a single source can be found to be credible, and
         corroboration from additional sources is not required. Information which
         appears credible on its face can be rebutted by equally credible contrary
         information. When concerns about the credibility of an allegation arise, Post
         should make efforts to obtain supplemental information, including from foreign
         sources, where appropriate.

Dkt. 26-3 at 14–15 (emphasis added). The guide then goes on to outline seven factors the

reviewer should consider in assessing the credibility of a source, including past accuracy and

reliability, known political agenda, contradictory information, and the level of detail offered. Id.

at 15.

         That process is far from mechanical, as the Department’s Vaughn index confirms. In

describing Document 6, for example, the Department notes that the email chain includes

“discussions about whether the Department has credible intelligence indicating that the law

enforcement personnel should be cleared;” discussions regarding “potentially derogatory

information;” and “discussions about the credibility of that information.” Dkt. 30-3 at 4

(emphasis added). The Vaughn index then explains that the withheld material reflects “certain

officials’ opinions about whether unites and individuals should be approved or rejected, and

discussion of the factors the Department considers when making that decision.” Id. (emphasis

added). The Department’s description of the material withheld from Documents 11, 23 and 29,

similarly, reflects intra-agency deliberations and opinions about potentially derogatory

information, Dkt. 30-3 at 6, application of the State Leahy Law “to a particular group of

prosecutors,” id. at 16, and the process for assessing the credibility of a source, id. at 21–22.

Discussions of this type fall squarely within the deliberative process privilege.




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       The Court also agrees with the Department that disclosure of the withheld materials

would cause foreseeable harm, potentially chilling agency discussion on sensitive topics related

to Leahy vetting that may follow as a result. Finally, the Court is persuaded that the Department

has released all segregable portions of Documents 6, 11, 23, and 29.

       For those reasons, the Court will grant the Department’s motion for summary judgment,

and will deny Plaintiffs’ cross-motion, with respect to the portions of Documents 6, 11, 23, and

29 that the Department withheld pursuant to Exemption 5.

               e.      Documents 14, 16, 19, 24, 28, 30, and 50

       Plaintiffs challenge the Department’s withholding of a number of documents under

Exemption 5 only on the ground that the Department failed to satisfy FOIA’s requirement that an

agency withhold information “only if” it “reasonably foresees that disclosure would harm an

interest protected by an exemption.” 5 U.S.C. § 552(a)(8)(A)(i)(I). The foreseeable-harm

requirement was introduced to FOIA in 2016. See FOIA Improvement Act of 2016, Pub. L. No.

114–185, § 2, 130 Stat. 538, 539. The foreseeable-harm requirement “impose[s] an independent

and meaningful burden on agencies.” Reps. Comm. for Freedom of the Press v. FBI, 3 F.4th

350, 369 (D.C. Cir. 2021) (quotation marks omitted). To satisfy this burden, agencies must do

more than “rely on mere speculative or abstract fears, . . . fear of embarrassment,” or

“generalized assertions” of harm. Id. (cleaned up). They must, instead, “specifically and

thoughtfully determine whether [they] ‘reasonably foresee[] that disclosure of each particular

record would harm an interest protected by [the] exemption.’” Id. at 372 (quoting 5 U.S.C.

§ 552(a)(8)(A)(i)(I)). Plaintiffs argue that the Department has failed to satisfy this requirement

with respect to Documents 14, 16, 19, 24, 28, 30, and 50.




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       After Plaintiffs raised the foreseeable-harm requirement in their cross-motion for partial

summary judgment, see Dkt. 26-1 at 21–23, the Department updated its Vaughn index to add

detail about the foreseeable harm that would result from disclosure of the specific withheld

material, see generally Dkt. 30-3. Document 14, for example, is draft press guidance titled

“Joint State-DOD Policy on Remediation and the Resumption of Assistance.” Id. at 10. That

document “contains draft talking points for use by members of the Department who receive press

inquiries about the topic of the guidance.” Id. The “Approval” line of the draft was been left

blank. Id. The Department’s Vaughn index contains a detailed explanation of why the

deliberative process privilege applies. Id. It then goes on to explain:

       Disclosure of this draft document could reasonably be expected to chill the open
       and frank discussions in which Department officials engage when they draft
       documents for internal use to prepare other officials for communicating policy
       decisions to the public, as well as the willingness of officials to make suggestions
       to regarding press guidance. Specifically, release of this document would
       foreseeably harm the Department’s deliberative process by leading Department
       officials to believe that every edit or comment they propose in a draft document
       may be released to the public, thus curbing the candid exchange of ideas between
       Department officials and curtailing creativity in the compilation and explanation
       of Department policy. Furthermore, releasing press guidance documents such
       as this one would interfere with the Department’s stated procedure for preparing
       and making public statements to members of the press, and would risk confusing
       the public to the extent this draft press guidance does not match up precisely
       with the actual public statements made by Department officials.

Id.
       The Court has reviewed each entry in the Department’s Vaughn index for Documents 14,

16, 19, 24, 28, 30, and 50, and it concludes that the Department has carried its burden of

establishing that it was “reasonably foreseeabl[e] that disclosure would harm an interest

protected by” Exemption 5. 5 U.S.C. § 552(a)(8)(A)(i)(I). Far from the type of “perfunctory

state[ment] that disclosure of all the withheld information—regardless of category or

substance—would jeopardize the free exchange of information” that the D.C. Circuit has



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admonished “will not suffice,” Reps. Comm. for Freedom of the Press, 3 F.4th at 370 (quotation

marks omitted), the Department’s revised Vaughn index addresses each individual document

with specific reasons why disclosure would cause foreseeable harm. These reasons, moreover,

are sensible: the withheld materials include draft documents, proposed talking points, and email

chains among Department personnel that reflect internal deliberations about the application of

the Leahy Laws, involving and addressing, among other sensitive topics, legal interpretation of

the Leahy Laws, possible remediation of human rights violations by particular units, and non-

final vetting decisions. In each case, the Department’s revised Vaughn index addresses the

specific harm that would result from disclosure of the specific information.

       In response to the Department’s revised Vaughn index, Plaintiffs argue that “it is

implausible that Department personnel would be ‘chill[ed]’ from engaging in an ‘open and frank

exchange of ideas’ about Leahy [v]etting because, years later, their words may be revealed to the

public.” Dkt. 32 at 14. The Court disagrees. It is entirely plausible that the knowledge or belief

that internal agency deliberations regarding sensitive matters of national security and foreign

policy might be disclosed (even “years later”) would chill the very discussions that the

deliberative process privilege is designed to protect. Cf. Machado v. U.S. Dep’t of State, 971

F.3d 364, 371 (D.C. Cir. 2020) (holding that, where an agency “focused on ‘the information at

issue’ . . . and it concluded that disclosure of that information ‘would’ chill future internal

discussions,” the agency “correctly understood the governing legal requirement and reasonably

explained why it was met”).

       The Court, accordingly, will grant the Department’s motion for summary judgment with

respect to Documents 14, 16, 19, 24, 28, 30, and 50, and will deny Plaintiffs’ cross-motion for

partial summary judgment.



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       2.      Exemption 6

       The Department invokes FOIA Exemption 6 to withhold from twenty-two records the

names of foreign security officials who either underwent Leahy vetting or who were discussed

by officials who were vetting the individuals’ security force unit. See Dkt. 30-3 (Docs. 6, 11,

17–18, 26, 31–47). Under Exemption 6, an agency need not disclose “personnel and medical

files and similar files the disclosure of which would constitute a clearly unwarranted invasion of

personal privacy.” 5 U.S.C. § 552(b)(6). The Supreme Court has construed the phrase “and

similar files” to reach “information which applies to a particular individual” that is contained in

government files. U.S. Dep’t of State v. Wash. Post Co., 456 U.S. 595, 602 (1982). For present

purposes, Plaintiffs do not dispute that the documents at issue constitute “similar files” within the

meaning of Exemption 6.

       The presence of “personal, identifying information” on its own, however, “is not enough

to invoke Exemption 6;” instead, the information must be “of such a nature that its disclosure

would constitute a clearly unwarranted privacy invasion.” Jud. Watch, Inc. v. U.S. Dep’t of

State, 282 F. Supp. 3d 36, 49–50 (D.D.C. 2017) (quoting Nat’l Ass’n of Home Builders v.

Norton, 309 F.3d 26, 32 (D.C. Cir. 2002)). To make that determination, the Court must first

evaluate whether “disclosure would compromise a substantial, as opposed to a de minimis,

privacy interest,” Nat’l Ass’n of Retired Fed. Emps. v. Horner, 879 F.2d 873, 874 (D.C. Cir.

1989), and must then “balance the privacy interest in non-disclosure against the public interest”

in disclosure, Consumers’ Checkbook, Ctr. for the Study of Servs. v. U.S. Dep’t of Health &

Human Servs., 554 F.3d 1046, 1050 (D.C. Cir. 2009).

       With respect to the potential privacy interests, the parties rely on competing analogies.

For its part, the Department argues that releasing the names of individuals who have undergone



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Leahy vetting would stigmatize them by “associat[ing] them publicly with inquiries into possible

gross violations of human rights,” which would constitute an invasion of privacy “in much the

same way that associating an individual with an ongoing criminal investigation would invade

their personal privacy even if, and perhaps especially if, the individual is ultimately cleared of

any personal wrongdoing.” Dkt. 25–3 at 18 (2d Stein Decl. ¶ 62). More specifically, the

Department contends that revealing the identities of individuals who have undergone Leahy

vetting could “expose them to harassment by making public their affiliation with the United

States Government.” Dkt. 30 at 22. Plaintiffs, on the other hand, contend that because Leahy

vetting is conducted in all cases in which an individual or security unit is nominated for U.S.

training or assistance, and not just in those cases that raise suspicion, there is no risk of

stigmatization. Dkt. 26-1 at 28. Thus, according to Plaintiffs, “[m]uch in the same way a new

job or rental unit will often require a background check for a new hire or lessee,” no harm would

result from exposing the names of individuals who have undergone Leahy vetting. Id.

        Neither analogy is particularly helpful. On the one hand, Leahy vetting—standing

alone—does not involve even implicit allegations of wrongdoing. But, on the other, that vetting

does—at least in some circumstances—implicate privacy interests far more substantial than

disclosing the fact that someone has submitted an application to lease an apartment or has

applied for a job, although even that information might at times implicate a more-than-de-

minimis privacy interest. The difficulty with both parties’ positions regarding the identity of

individuals subject to Leahy vetting, however, goes beyond their choice of analogies.

        According to the Department, “releasing the names of members of foreign security forces

who were submitted for Leahy vetting would have a number of negative effects.” Dkt. 25-4 at 5

(Blaha Decl. ¶ 14). Those effects include:



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       First, release would harm the personal privacy of the vetted individuals, who
       have a privacy interest in their names and other identifying information. Second,
       releasing the names of vetted individuals could expose those individuals to
       harassment and retaliation either by making public their affiliation with a unit
       that may be receiving assistance from the U.S. Government or by implicitly
       tying them to possible commissions of [gross violations of human rights]. Third,
       release could discourage host governments from submitting necessary vetting
       information in the future, which could detract from State’s ability to implement
       the Leahy Laws and could harm both State’s and DOD’s ability to conduct
       security assistance programming vital to U.S. national security interests. . . .
       [F]or both foreign policy and personal privacy reasons, the Department does not
       make public the names of foreign security force members that participate in U.S.
       Government security assistance programs.

Id. at 5–6 (Blaha Decl. ¶¶ 14–15). None of these asserted effects, however, is sufficient to

support the Department’s motion to summary judgment with respect to Exemption 6. The Court

will address those asserted effects, starting with the two effects that are most readily dispatched.

       The first asserted effect—the “privacy interest in . . . names and other identifying

information” of those subject to Leahy vetting—lacks sufficient specificity or support to sustain

the Department’s reliance on Exemption 6. To start, the Department does not indicate what

“other identifying information” it has in mind. Even more importantly, the Department’s

assertion that the individuals at issue have a “privacy interest” in the withheld information is too

conclusory to support its invocation of Exemption 6; indeed, it is difficult to imagine a case in

which an agency might invoke Exemption 6 where that assertion would not apply. Nor does the

Department address whether different subjects of vetting are differently situated in relevant

respects. Does the longstanding and well-known commander of a particular unit, for example,

have the same privacy interest in his name as a new recruit? Without additional detail, the

Department’s sweeping contention that all subjects of Leahy vetting have a privacy interest in

their names and identifying information is unhelpful.




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       The Department’s third concern—that “release could discourage host governments from

submitting necessary vetting information in the future”—is even less availing. To be sure, this

assertion might support a finding of foreseeable harm, but it does not support a finding that the

individuals at issue have a non-de-minimis privacy interest. Disclosing the names of those

subject to vetting, for example, might well dissuade host governments from submitting necessary

information, but that is not a privacy interest. And, for similar reasons, the fact that “at least

some individuals are not aware that they or their units are being or have been Leahy vetted,” id.

at 5 (Blaha Decl. ¶ 13), does not directly implicate the privacy of those individuals. The act of

letting an individual know that she was the subject of an investigation does not undermine her

right to privacy. What would do so is letting her friends, family, neighbors, or co-workers know.

But that is not the risk raised by the Department’s third concern.

       The Department’s second concern—“releasing the names of vetted individuals could

expose those individuals to harassment and retaliation”—raises a more traditional privacy

interest, and thus the Department’s argument comes closer to the mark. It still falls short,

however, for lack of sufficient detail. The Court has little doubt that disclosing the names of

foreign personnel vetted to participate in U.S. training or assistance programs in Iraq,

Afghanistan, Egypt, Mexico, Colombia, Philippines, Cambodia, or Bangladesh could, at least at

times, expose those individuals to “harassment and retaliation.” Id. at 5 (Blaha Decl. ¶ 14). Nor

does the Court doubt that this concern, at least at times, will constitute a privacy interest of the

highest order. The problem the Department faces, however, is that it is neither categorical nor

specific in pressing its point. As the Department puts it in its reply brief: “disclosure of the

vetted foreign officers’ names and other identifying information could, in certain circumstances,

expose them to harassment by making public their affiliation with the United States



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Government.” Dkt. 30 at 22 (emphasis added). The question that the Department leaves

unanswered is “under what circumstances” does that risk exist? Does the Department’s concern

extend to all the countries at issue? All the units in each of those countries? All the individuals

screened for each of those units? Is it possible to distinguish between these risks? What

information is already public? Without specific answers to these and other questions, the Court

cannot assess the nature and extent of the privacy interest—or distinct privacy interests—at

stake. 5

           Plaintiffs, for their part, fail to grapple with the real-world risk of harassment or

retaliation that at least some of these individuals might face if the Department were to release all

of the names and identifying information that the Plaintiffs seek. They merely observe that some

of the information that they seek to uncover is already public and that, in most cases, the

individual’s name will appear along with an “approved” signation, removing any implication of

wrongdoing. Dkt. 32 at 19. But neither of those assertions addresses the risk that some—and

perhaps many—of those identified in the records at issue could face serious consequences if their

association with U.S. training and assistance was made public.

           The lack of the necessary evidence also precludes the Court from engaging in the

balancing required under Exemption 6. As just explained, the Court is persuaded that, in at least

some cases, the requested disclosures could pose a serious risk to the individuals at issue. The


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  This is not to say that the Department must provide a distinct factual basis for each
withholding. But it must provide, at a minimum, the necessary factual support for the relevant
categories of persons, see, e.g., Matthews v. Fed. Bureau of Investigation, Civil No. 16-569,
2019 WL 1440161, at *8 (D.D.C. Mar. 31, 2019), such as members of units that received
undisclosed (or not widely known) training from the United States in a specific region inhabited
by a group or groups who are hostile to the United States and who might threaten or harass those
particular individuals if their association with the United States was made known (or better
known). The greater the specificity that the Department can offer, however, the better equipped
the Court will be to weigh the competing interests in privacy and disclosure.

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Court is also persuaded that Plaintiffs have identified a substantial public interest in disclosure;

in particular, they observe that disclosure of the vetted individuals’ names is necessary to

“examine and illuminate State’s compliance with the Leahy Laws.” Dkt. 26-1 at 30. 6 In short,

this is one of those Exemption 6 cases in which “the interests on both sides of the relevant

balance are weighty,” Brennan Ctr. for Just. v. U.S. Dep’t of Just., Civil No. 18-1860, 2021 WL

2711765, at *2 (D.D.C. July 1, 2021) (“this is a case with anvils on both sides of the scales”)—or

at least possibly so. But, without more specific information, the Court cannot weigh those

competing interests.

       Although the Department bears the burden of justifying its invocation of Exemption 6, it

has failed to do so, and FOIA favors the expeditious release of non-exempt records, the Court


6
 In their cross-motion, Plaintiffs provide some examples of how exposure of individuals’ names
will serve this interest:

       Plaintiffs’ work to date underscores the public’s interest in the names of
       individuals required to be vetted as a prerequisite to receiving U.S. training or
       other assistance. Colonel Seng Phok of Cambodia’s Royal Gendarmerie was
       among the commanding officers whose men “burned 80 houses” to the ground
       to forcibly evict villagers from their homes in Spean Ches, Preah Sihanouk
       Province, Cambodia. Yet, the U.S. Embassy in Cambodia “could find ‘no
       credible information’ connecting Col. Phok to any gross violation of human
       rights and granted him preliminary approval to attend training in
       counterterrorism,” despite his commanding role in the Spean Ches incident in
       which the military also “inflicted gunshot wounds at close range, [and] used live
       fire to disperse crowds.” In Kbal Hong, a small village also in Preah Sihanouk
       Province, Rear Admiral Hing Puth Dara commanded his soldiers to burn down
       homes and beat unconscious a man taking his sick child to the doctor.
       Nevertheless, Puth Dara was also approved by the Embassy to receive training
       from the U.S. Coast Guard in advanced maritime operations. These examples
       are emblematic of the revelations that can only take place if members of the
       press and public have access to the names of individuals subject to Leahy
       [v]etting.

Dkt. 26-1 at 28–29 (citations omitted). Without the names of vetted individuals, Plaintiffs argue,
they cannot comprehensively analyze the Leahy vetting decisions that the Department has made
on an individual level. See id. at 29.

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will provide the Department with another opportunity to meet its burden because this case

implicates the interests of third parties, who bear no responsibility for any shortcomings in the

Department’s initial motion. Under similar circumstances, this Court has held that protecting the

substantial interests of innocent third parties provides sufficient basis to permit a motion for

reconsideration, see id. at *8–*9; Changzou Laosan Grp. v. U.S. Customs & Border Prot.

Bureau, 374 F. Supp. 2d 129, 132 (D.D.C. 2005); Delta Ltd. v. U.S. Customs & Border Prot.

Bureau, 393 F. Supp. 2d 15, 17 (D.D.C. 2005); see also 11 Charles Alan Wright & Arthur R.

Miller, Federal Practice and Procedure § 2810.1 (3d ed. 2022) (such motions are to “be granted if

necessary to prevent manifest injustice”), and, short of that, the similar (and also weighty) third

party interests at issue here are more than sufficient to permit the Department the opportunity to

offer more complete and detailed evidence in support of its invocation of Exemption 6.

       The Court will, accordingly, deny the Department’s motion for summary judgment on

this issue without prejudice and will also deny Plaintiffs’ cross-motion without prejudice.

       3.      Exemption 7

       The Department asserts that it properly withheld portions of thirty records pursuant to

FOIA Exemptions 7(C), 7(E), and 7(F). Those exemptions apply to records “compiled for law

enforcement purposes,” the disclosure of which (1) “could reasonably be expected to constitute

an unwarranted invasion of personal privacy,” 5 U.S.C. § 552(b)(7)(C) (Exemption 7(C)); (2)

“would disclose techniques and procedures for law enforcement investigations,” id.

§ 552(b)(7)(E) (Exemption 7(E)); or (3) “could reasonably be expected to endanger the life or

physical safety of any individual,” id. § 552(b)(7)(F) (Exemption 7(F)). The Department invokes

Exemption 7(C) to withhold the names of foreign individuals who were the subject of, or

discussed in relation to, Leahy vetting. See, e.g., Dkt. 30-3 at 5, 7, 12. It invokes Exemption



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7(E) to withhold material from email chains about ongoing Leahy vetting processes, see, e.g.,

Dkt. 30-3 at 4–5; discussions and memoranda about implementation of the Leahy Laws, id. at

13–14; an internal Department guide to Leahy vetting titled “Tainted: The Average Joe’s Guide

to Leahy Vetting,” id. at 15–16; portions of the 2017 Leahy Vetting Guide, id. at 18–19; and a

cable from the Secretary of State to “all diplomatic and consular posts” describing the

Department’s procedures for implementing the State Leahy Law’s reporting requirements, id. at

31–32. And, the Department invokes Exemption 7(F) to withhold information from the INVEST

spreadsheets for Iraq and Egypt relating to the identities of vetted individuals or that the

Department contends could be used to identify such individuals. Id. at 25–27.

       Before assessing the Department’s withholdings on a document-by-document basis, the

Court must first determine whether the records at issue were “compiled for law enforcement

purposes,” a requirement that applies to all “categories of documents” subject to Exemption 7.

Shem-Tov v. Dep’t of Just., 531 F. Supp. 3d 102, 110 (D.D.C. 2021). “The term ‘law

enforcement’ in Exemption 7 refers to the act of enforcing the law, both civil and criminal.”

Pub. Emps. for Envtl. Resp. v. U.S. Section, Int’l Boundary & Water Comm’n, 740 F.3d 195, 203

(D.C. Cir. 2014) (“PEER”). In considering whether records have been compiled for a “law

enforcement purpose,” “it is not the nature of the agency that controls, but the character of the

records withheld.” Elkins v. Fed. Aviation Admin., 99 F. Supp. 3d 90, 98 (D.D.C. 2015).

       The Department’s Vaughn index cites the same purported “law enforcement purpose” for

each record for which it invokes Exemption 7: each record, according to the Department, serves

the purpose of “enforcing the Leahy Laws by vetting foreign individuals and units before they

receive training or other assistance from the U.S. Government.” Dkt. 30-3 at 4; see also, e.g., id.

at 7 (same); id. at 14 (same); id. at 16 (same). The State Department’s principal function is not



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law enforcement, see Schoenman v. FBI, 573 F. Supp. 2d 119, 146 (D.D.C. 2008), and the

Department does not suggest otherwise. That fact invites “some skepticism” of the Department’s

invocation of Exemption 7, PEER, 740 F.3d at 203, but it is not dispositive, and, indeed, there is

little doubt that the State Department at times compiles records for law enforcement purposes,

see, e.g., Jud. Watch, 282 F. Supp. 3d at 43. As the D.C. Circuit has observed, what is most

important is the statutory text, and the relevant text requires the Court to assess whether the

particular documents at issue were, in fact, “compiled for law enforcement purposes.” PEER,

740 F.3d at 203 (quoting 5 U.S.C. § 552(b)(7)).

       Although a novel question, the Court is persuaded that the Department compiles Leahy

vetting records for law enforcement purposes. Decisions holding that “[b]ackground

investigations conducted to assess an applicant’s qualifications” are typically compiled for law

enforcement purposes, Morley, 508 F.3d at 1128–29, provide a helpful starting point. As the

D.C. Circuit has explained, “[t]he principal purpose of a background investigation is to ensure

that a prospective employee has not broken the law or engaged in other conduct making her

ineligible for the position,” although the investigation “also helps ‘to determine whether there are

any law enforcement or security issues in her past that could affect her ability to carry out’ the

position.” Mittleman v. Off. of Pers. Mgt., 76 F.3d 1240, 1243 (D.C. Cir. 1996) (alterations

omitted); see also Jud. Watch, 282 F. Supp. 3d at 43. The ultimate results of the background

investigation—that is, whether the investigation uncovers an actual violation of the law—is

“immaterial to those objectives.” Mittleman, 76 F.3d at 1243. Nor does it matter that

background investigations are often performed for both law and non-law-enforcement reasons.

What matters is whether the investigations were conducted, at least in significant part, to

“prevent criminal activity and to maintain security;” “to deter illegal activity and ensure national



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security;” to determine whether the subject is “suitable for work in . . . law enforcement” and

related fields; or to ferret out criminal misconduct. Sack v. U.S. Dep’t of Def., 823 F.3d 687, 694

(D.C. Cir. 2016).

       Significantly, Exemption 7 is not limited to federal law enforcement purposes. Rather,

“[t]he language of the statute makes no distinction between” federal and state or between

“foreign and domestic enforcement purposes.” Bevis v. Dep’t of State, 801 F.3d 1386, 1388

(D.C. Cir. 1986). Consistent with that understanding, the D.C. Circuit has applied Exemption 7

to federal, see, e.g., Sack, 823 F.3d at 694, state, see, e.g., Shaw v. Fed. Bureau of Investigation,

749 F.2d 58, 64 (D.C. Cir. 1984), and foreign law enforcement purposes, Bevis, 801 F.2d at

1388, at least when the federal agency’s inquiry serves a “federally authorized purpose,” id.

(quoting Shaw, 749 F.2d at 64).

       Applying this framework here, the Court is persuaded that the State Department compiles

Leahy vetting records “for law enforcement purposes.” The State Leahy Law provides that if the

funds must be withheld based on a finding that the security unit at issue engaged in gross

violations of human rights, the Secretary must, “to the maximum extent practicable, assist the

foreign government in bringing the responsible members of the unit to justice.” 22 U.S.C.

§ 2378d(c) (emphasis added). The State Department’s 2017 Leahy Vetting Guide, which

Plaintiffs have submitted as an exhibit in support of their cross-motion, further highlights the

goal of bringing those responsible for committing gross violations of human rights to justice.

The guide explains: “The Leahy Law aims to incentivize foreign governments to take action to

bring to justice those members of security forces who have committed gross violations of human

rights . . . by cutting off assistance to units that have been implicated in such offenses. If the

foreign government strongly desires U.S. Government assistance, cutting off the unit alleged to



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have been involved may lead [that] government to undertake an investigation and [to] bring

those responsible to justice.” Dkt. 26-3 at 10 (emphases added).

        Any doubt about whether the statutory phrase “law enforcement purposes” is capacious

enough to encompass the goal of bringing those responsible for gross violations of human rights

to justice, moreover, is put firmly to rest by the Department’s list of “the four most common

forms of” gross violations of human rights, which includes torture, extrajudicial killing, enforced

disappearance, and rape under the color of law. Id. at 10–11. Those are among the most serious

crimes known to international and foreign law, see, e.g., Filartiga v. Pena-Irala, 630 F.2d 876,

890 (2d Cir. 1980) (describing “the torturer” as “an enemy of all mankind”), and, in many

circumstances, an offender may be criminally or civilly liable in a U.S. court for committing

such a grave offense even outside the United States, see, e.g., 18 U.S.C. § 2340A; 28 U.S.C.

§ 1350 note. And, to the extent FOIA demands a “federally authorized purpose” for the

investigation or a “strong U.S. policy interest in facilitating [a foreign state’s] efforts to bring to

justice” those suspected of gross violations of human rights, Bevis, 801 F.2d at 1388, the interest

in ensuring that U.S. training and assistance are not used to support torture, murder, enforced

disappearance, rape, or similar crimes is compelling.

        According to Plaintiffs, the Leahy vetting process “cannot fairly be characterized as an

enforcement proceeding” because the State Leahy Law “is not a criminal law, nor does it involve

the imposition of civil or any other type of penalty.” Dkt. 26-1 at 24 (quotation marks omitted).

One might say the same thing, of course, about a law or rule requiring that government

employees submit to background investigations. But, in any event, Plaintiffs are incorrect that

the State Leahy Law does not involve “any . . . type of penalty”—a finding of gross violations of

human rights can lead both to the loss of U.S. training and assistance and to efforts to bring the



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responsible individuals to justice. See 22 U.S.C. § 2378d(a), (c). Nor is the Court persuaded by

Plaintiffs’ contention that holding that Leahy vetting records are compiled for law enforcement

purposes would effectively read the law-enforcement-purposes requirement out of FOIA.

According to Plaintiffs, if the Department is right, “it is hard to know what records of an agency

within the executive branch . . . would not constitute records ‘compiled for law enforcement

purposes.’” Dkt. 26-1 at 24. But, for the reasons explained above, Leahy vetting differs in

material respects from garden-variety implementation of “laws enacted by Congress.” The

purpose of the Leahy Laws and the State Department’s enforcement efforts is to prevent grave

violations of international, foreign, and (at times) domestic law, including acts of torture, murder,

and rape. Those efforts bear no resemblance to the type of day-to-day administrative actions

implementing statutes that Plaintiffs invoke.

       Having concluded that the State Department compiles Leahy vetting records “for law

enforcement purposes,” the Court must determine whether the Department has satisfied the

subsidiary requirements of Exemptions 7(C), 7(E), and 7(F).

               a.      Exemption 7(C)

       In light of the Court’s preceding analysis of Exemption 6, the Department’s invocation of

Exemption 7(C) requires little additional discussion. Exemption 6 applies to “personnel and

medical files and similar files the disclosure of which would constitute a clearly unwarranted

invasion of personal privacy,” 5 U.S.C. § 552(b)(6), while Exemption 7(C) applies to records

“compiled for law enforcement purposes” if their release “could reasonably be expected to

constitute an unwarranted invasion of personal privacy,” id. § 552(b)(7)(C). The latter “is more

protective of privacy than Exemption 6’ and thus establishes a lower bar for withholding

material.” ACLU v. U.S. Dep’t of Just., 655 F.3d 1, 6 (D.C. Cir. 2011) (quoting U.S. Dep’t of



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Def. v. FLRA, 510 U.S. 487, 496 n.6 (1994)). To justify withholding under either exemption,

however, the agency must identify a substantial privacy interest, and the D.C. Circuit has

“deemed the privacy inquiry of Exemptions 6 and 7(c) to be essentially the same.” Jud. Watch,

365 F.3d at 1125.

       For each entry in the Department’s Vaughn index that invokes Exemption 7(C), the

Department also invokes Exemption 6. See Dkt. 30-3 at 5, 7, 12–13, 19, 24–26, 27–31. With

respect to Exemption 6, the Court has already concluded that the Department’s assertions of a

privacy interest fail for lack of sufficient detail. Because the privacy inquiry is the same under

Exemption 7(C), the Court reaches the same conclusion with respect to that exemption.

       For the same reasons given with respect to Exemption 6, the Court will, accordingly,

deny the Department’s motion for summary judgment without prejudice on this issue and will

also deny Plaintiffs’ cross-motion without prejudice.

               b.      Exemption 7(E)

       Plaintiffs challenge the Department’s withholding of information from ten documents

under Exemption 7(E). That exemption permits an agency to withhold “records or information

compiled for law enforcement purposes” if the release of those records “would disclose

techniques and procedures for law enforcement investigations or prosecutions, or would disclose

guidelines for law enforcement investigations or prosecutions if such disclosure could reasonably

be expected to risk circumvention of the law.” 5 U.S.C. § 552(b)(7)(E).

       In its discussion of Exemption 7(E), the second Stein Declaration avers that the

Department withheld:

       information about the sources from which it gathers potentially derogatory
       information; the systems and workflow procedures the Department employs in
       conducting Leahy vetting; the officers at each Post who have access to the
       INVEST database; the Department’s methods for assessing and evaluating the

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       credibility of those sources; the Department’s internal procedures for
       determining whether vetted individuals and units were involved in potentially
       derogatory incidents as well as whether remediation should occur following a
       negative determination; the circumstances in which Leahy vetting rules and
       restrictions applied to particular Posts in certain countries; State’s internal
       procedures for determining which units rejected pursuant to the Leahy Laws
       would be named in a publicly-available list in accordance with the Leahy Laws’
       reporting requirements; and internal recommendations and advice from
       Department officials for better managing those processes.

Dkt. 25-3 at 23 (2d Stein Decl. ¶ 75). The declaration goes on to explain that release of that

information—“none of which [is] well-known to the public”—could “reasonably be expected to

risk circumvention of the law[] by allowing individuals and units that are either seeking or that

expect to one day require Leahy approval to see what specific information is given more or less

weight in assessing eligibility for assistance.” Id. at 23–24 (2d Stein Decl. ¶ 75). The

declaration further asserts that “[r]elease of the nonpublic details of these techniques would

nullify their effectiveness, risk circumvention of the Leahy Laws, and undermine the U.S.

Government’s interest in ensuring that training and assistance are [not] furnished to units of

foreign security forces credibly believed to have committed [gross violations of human rights].”

Id. at 24 (2d Stein Decl. ¶ 76).

       As an initial matter, the Court concludes that the records withheld under Exemption 7(E)

were compiled for “law enforcement purposes.” The Court has already concluded that records

compiled as part of the Leahy vetting process itself, such as Documents 6 and 11, see Dkt. 30-3

at 4, 6, satisfy Exemption 7’s threshold requirement. By the same token, documents that

describe Leahy vetting procedures more generally, such as Document 20, which describes the

Department’s procedures for “assess[ing] whether individuals and units are eligible for

assistance under the Leahy Laws,” id. at 14, were also compiled for “law enforcement purposes”

because they “assist [Leahy vetters] in taking ‘proactive steps’ to deter illegal activity,” Sack,



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823 F.3d at 694 (concluding that “reports about polygraph use” were compiled for law

enforcement purposes because the reports “help ensure that law enforcement officers optimally

use an important law enforcement tool”).

         The central question, then, is whether release of the withheld information “would

disclose techniques and procedures for law enforcement investigations” and “would reasonably

be expected to ‘risk circumvention of the law.’” Id. (quoting 5 U.S.C. § 552(b)(7)(E)). In the

analogous context of background checks, the D.C. Circuit has held that Exemption 7(E)’s

requirements were satisfied when an agency sought to withhold “information [that] could

‘provide insight’ into . . . security clearance procedure[s].” Morley, 508 F.3d at 1129. As the

court explained, “[i]t is self-evident that information revealing security clearance procedures

could render those procedures vulnerable and weaken their effectiveness at uncovering

background information on potential candidates.” Id. The same is true in the context of Leahy

vetting: Exemption 7(E)’s requirements are satisfied if disclosure of Leahy vetting procedures

could weaken their effectiveness, thereby weakening the government’s efforts to bring

perpetrators of gross violations of human rights to justice.

       The Department has adequately supported its invocation of Exemption 7(E) with respect

to most of the information at issue. The Court credits the Department’s explanation that the

disclosure of information that would allow individuals to “see what specific information is given

more or less weight in assessing eligibility for assistance,” Dkt. 25-3 at 23–24 (2d Stein Decl.

¶ 75), would create “a ‘chance of a reasonably expected risk’” of circumvention of the law, Jud.

Watch, 282 F. Supp. 3d at 46 (quoting Mayer Brown LLP v. IRS, 52 F.3d 1190, 1193 (D.C. Cir.

2009)). Accordingly, because Documents 6, 11, 20–23, and 27 all include information bearing




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on the procedures used to vet foreign individuals and security force units under the Leahy Laws,

those records fall within Exemption 7(E) and were properly withheld. 7

       The Court is also persuaded that the Department’s redaction of one sentence from

Document 50 pursuant to Exemption 7(E) was justified. That document is a cable from the

Secretary of State to all diplomatic and consular posts that, among other things, “announces the

Department’s intention to make public the names of units denied assistance during calendar year

2017, as required by the Leahy Laws.” Dkt. 30-3 at 31. The Department withheld one sentence

in the document because “the information in that sentence reveals sensitive, non-public law

enforcement procedures used by the Department in implementing the Leahy Laws’ reporting

requirements and determining which units rejected pursuant to the Leahy Laws would be named

in a publicly-available list.” Id. at 32. Exemption 7(E) sets a relatively low bar, requiring the

Department to show only that disclosure “might increase the risk ‘that a law will be violated or

that past violators will escape legal consequences.’” PEER, 740 F.3d at 205 (quoting Mayer

Brown, 562 F.3d at 1193). Because publicly identifying those units that have engaged in gross

violations of human rights is one of the sticks used to enforce the law and to discourage human

rights violations, disclosure of how the Department decides “which units rejected pursuant to the

Leahy Laws would be named in a publicly-available list,” Dkt 30-3 at 32, “could reasonably be




7
  The Department also invokes Exemption 7(E) to withhold information from Document 19, but
the Department’s Vaughn index explains that “[t]his same information” was redacted pursuant to
Exemption 5. Dkt. 30-3 at 13–14. Because the Court has already concluded that the Department
properly invoked Exemption 5 with respect to Document 19, the Court need not consider
whether the Department properly invoked Exemption 7(E) with respect to that document.

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expected to risk circumvention of the law,” 5 U.S.C. § 552(b)(7)(E), by providing pointers for

how an offending unit might evade one important feature of the law. 8

       The Court cannot reach the same conclusion, however, with respect to at least portions of

Documents 21 and 25. Taking these in reverse chronological order, Document 25 is the 2017

Leahy Vetting Guide. The Department’s Vaughn index states that the Department has withheld

information identifying “particular system[s] used during the Leahy vetting process;” “details on

workflow within the INVEST database and specifics about data conversion and data entry within

that system;” “common forms of [gross violations of human rights];” “whether, how, and to what

extent non-[gross violations of human rights] derogatory information uncovered during Leahy

vetting can or should be used in the vetting process;” “procedures for reporting data from certain

systems in the Leahy vetting process;” “whether and how to utilize certain systems with respect

to individuals with possible claims to U.S. citizenship;” and “how the Leahy vetting process

affects other Department programs.” Dkt. 30-3 at 18. The Court cannot discern from this list

how each item withheld from Document 25 pursuant to Exemption 7(E) could reasonably lead to

circumvention of the law. It is not clear, for example, how the disclosure of “specifics about data

conversion and data entry within [the INVEST] system” could weaken the effectiveness of

Leahy vetting. Similarly, the Department does not explain what it means by “common forms of

[gross violations of human rights];” if this simply refers to “the four most common forms of”



8
  Congress recently amended the State Leahy Law to clarify that the identity of “units for which
no assistance shall be furnished” must “be made publicly available unless the Secretary of State,
on a case-by-case basis, determines and reports to the appropriate congressional committees that
the public disclosure is not in the national security interest of the United States and provides a
detailed justification for such determination, which may be submitted in classified form.”
Consolidated Appropriations Act 2022, Pub. L. 117-103, Div. K, Title VII, § 7035(b)(6), 136
Stat. 629. Neither party has requested that the Court consider whether this amendment has any
bearing on the question presented.

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gross violations of human rights identified within the 2017 Leahy Vetting Guide, see Dkt. 26-3

at 10–11, it unlikely that further disclosure would risk circumvention of the law. If, on the other

hand, the Department has withheld more granular information relating to, for example, red flags

that typically help Department officials detect gross violations of human rights, then Exemption

7(E) would likely apply. But without further detail, the Court cannot conclude that the Leahy

Vetting Guide should be withheld under Exemption 7(E).

       Finally, the Department has withheld various portions of Document 21. For the reasons

explained above, most of these withholdings are well-supported. One withholding, however, is

not adequately supported on the present record. In particular, according to the revised Vaughn

index, the Department redacted “procedural information related to the proper workflow and use

of the Department’s [INVEST] database.” Dkt. 30-3 at 15. As with Document 25, it is unclear

how disclosing information relating to the use of this database—the existence of which is

public—“could reasonably be expected to risk circumvention of the law.” 5 U.S.C.

§ 552(b)(7)(E); see also PEER, 740 F.3d at 205. Accordingly, the Department must do more to

carry its burden with respect to this one redaction from Document 21.

       The Court is unpersuaded, however, by Plaintiffs’ more sweeping challenge to the

Department’s invocation of Exemption 7(E), arguing that the withheld records “do little more

than discuss publicly available information.” Dkt. 26-1 at 33. In support, Plaintiffs point to

certain publicly available sources that provide “ample information . . . about State’s policies for

implementing Leahy vetting, ranging from what constitutes a credible source of information to

which individuals and units must be vetted.” Id. at 32–33. The Department, of course, does not

dispute that much information is publicly available about how Leahy vetting works and about

units that have been rejected. The problem with Plaintiffs’ argument, however, is that they offer



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no reason to doubt the Department’s good-faith representations that the withheld information is

not public and that the disclosure of those non-public details would risk circumvention of the

law. As explained above, the Department has carried its burden of showing that disclosure of the

information in Documents 6, 11, 20–23, 27, and 50, and most of Document 21, could reduce or

nullify the effectiveness of the procedures the Department employs to detect and to prevent

violations of the prohibition on training or assisting units that have engaged in gross violations of

human rights.

       The Court also agrees with the Department that disclosure of the withheld materials in

Documents 6, 11, 20–23, 27, and 50, and most of Document 21 would cause foreseeable harm.

Although the D.C. Circuit has yet to opine on what an agency must do to show foreseeable harm

under Exemption 7(E), courts have acknowledged on at least two occasions that the foreseeable-

harm requirement is similar to (and was not intended to heighten) Exemption 7(E)’s

“circumvention of the law” requirement. See Citizens for Resp. & Ethics in Wash. v. DHS, 525

F. Supp. 3d 181, 192 n.4 (D.D.C. 2021); see also Reps. Comm. for Freedom of the Press v. FBI,

548 F. Supp. 3d 185, 196–97 (D.D.C. 2021). The Court therefore concludes that the Department

has satisfied the foreseeable-harm requirement for Documents 6, 11, 20–23, 27, 50, and most of

Document 21.

       The Court will, accordingly, grant Department’s motion with respect to Documents 6, 11,

20–23, 27, 50, and all portions of Document 21 (except with respect to the information “related

to the proper workflow and use of the Department’s [INVEST] database”), and the Court will

deny Plaintiffs’ cross-motion with respect to those withholdings. The Court will also deny

without prejudice the Department’s motion with respect to the outstanding portion of Document




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21 and Document 25 without prejudice, and it will deny Plaintiffs’ cross-motion without

prejudice with respect to those withholdings.

               c.      Exemption 7(F)

       The Department invokes Exemption 7(F) to withhold material from two spreadsheets

containing data from the INVEST database for Egypt and Iraq. See Dkt. 30-3 at 25–27. The

information that the Department seeks to withhold was inadvertently disclosed to Plaintiffs,

however, and is the subject of a separate dispute over whether the Court should order Plaintiffs

to return or to destroy the inadvertently disclosed records. The Court’s resolution of that dispute,

discussed below, obviates the need for the Court to determine whether the Department’s

withholdings satisfy Exemption 7(F)’s substantive requirements.

C.     Return of Records Mistakenly Released

       On January 17, 2020, the Department disclosed fourteen Excel spreadsheets containing

data from the Department’s INVEST database, while asserting FOIA Exemptions 5, 6, and 7(C)

to withhold portions of the spreadsheets. Dkt. 30-1 at 1–2 (Def. Resp. to Pl. SUMF ¶ 38). A

week later, counsel for the Department informed Plaintiffs that the previously disclosed

spreadsheets “corresponding to Iraq and Egypt may contain information that should have been

redacted under FOIA Exemption [7(F)].” Dkt. 25-8 at 11. Counsel for the Department requested

that Plaintiffs destroy all copies of the previously disclosed spreadsheets. Id. Plaintiffs refused

to do so. Id. at 7–8. On February 19, 2020, and on April 9, 2020, the Department, through

counsel, provided two corrected spreadsheets for Egypt and Iraq, asserting FOIA Exemptions 5,

6, 7(C), and 7(F). Dkt. 30-1 at 2 (Def. Resp. to Pl. SUMF ¶ 39).

       The Department now seeks to assert Exemptions 6, 7(C), and 7(F) to withhold the

information in the spreadsheets that has already been disclosed to Plaintiffs, requesting that the



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Court “direct Plaintiffs to return or destroy the Department’s January 17, 2020, production of

the[] two spreadsheets.” Dkt. 30 at 30. The Court can quote the Department’s argument in

support of its request for the return or destruction of the inadvertently released records in full:

       If the Court finds that Defendant correctly asserted FOIA Exemptions 6, 7 (C)
       and 7(F) to withhold this information, Defendant respectfully requests that the
       Court direct Plaintiffs to return or destroy the Department’s January 17, 2020,
       production of these two spreadsheets. Cf. Hersh & Hersh v. Dep’t of Health &
       Human Servs., Civ. A. No. 06-4234, 2008 WL 901539, *9 (N.D. Cal. Mar. 31,
       2008) (ordering plaintiff to return in whole defendants’ inadvertent initial
       production).

Id. That argument—at least as developed to date—is unconvincing.

       To start, the Department places the cart before the horse in arguing that the Court should

first consider whether its asserted withholdings are proper, and, then, if so, the Court should

consider whether the records must be returned. But absent legal authority indicating that the

Court has the authority to order that a FOIA recipient return records that were inadvertently

released without redactions, the Court has no reason to consider whether the proposed redactions

would be proper, were the Department allowed a mulligan.

       The even more substantial difficulty that the Department faces is that it fails to identify

any authority that the Court has to order Plaintiffs to return the unredacted versions of the

spreadsheets. Rather, the Department cites a single decision from the Northern District of

California directing a FOIA plaintiff to return a production that include “inadvertently produced

documents,” Hersh & Hersh, 2008 WL 901539, at *9, but that decision offers no legal analysis

and cites no precedent in support of that directive. More importantly, if the Department believes

that there is a sound basis for the Court to take the extraordinary step of ordering a news

organization and a journalist to return materials to a government agency, which they obtained

through no unlawful or improper action, it must do far more than include a single sentence on the



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final page of a reply brief. The questions posed by the Department’s request are of great

importance, and, if the Department wants to pursue the issue, they deserve more serious

treatment than that.

       The Court will, accordingly, deny without prejudice the Department’s request that the

Court order the return of the inadvertently released records and, pending any further efforts by

the Department to secure the return of those records, the Court will deny the Department’s

motion for summary judgment with respect to the Exemption 7(F) withholdings without

prejudice as moot.

                                        CONCLUSION

       For the foregoing reasons, it is hereby ORDERED that the Department’s motion for

summary judgment, Dkt. 25, is GRANTED in part and DENIED in part, and that Plaintiffs’

cross-motion for partial summary judgment, Dkt. 26, is DENIED; it is further

       ORDERED that, with respect to the adequacy of the Department’s search for the reports

to Congress that Plaintiffs requested in their second FOIA request, the Department’s motion for

summary judgment is DENIED without prejudice and Plaintiffs’ cross-motion is DENIED

without prejudice; it is further

       ORDERED that, with respect to the Department’s withholding of Document 1, the

Department’s motion for summary judgment is DENIED without prejudice and Plaintiff’s cross-

motion for partial summary judgment is DENIED without prejudice; it is further

       ORDERED that, with respect to the portions of Document 45 that the Department

withheld pursuant to Exemption 5, the Department’s motion is GRANTED and Plaintiffs’ cross-

motion is DENIED; it is further




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       ORDERED that, with respect to the portions of Documents 31 through 44 that the

Department withheld pursuant to Exemption 5, the Department’s motion is DENIED without

prejudice and Plaintiffs’ cross-motion is DENIED without prejudice; it is further

       ORDERED that, with respect to Document 12, the Department’s motion is GRANTED

and Plaintiffs’ cross-motion is DENIED; it is further

       ORDERED that, with respect to the portions of Documents 6, 11, 23, and 29 that the

Department withheld pursuant to Exemption 5, the Department’s motion is GRANTED and

Plaintiffs’ cross-motion is DENIED; it is further

       ORDERED that, with respect to the portions of Documents 14, 16, 19, 24, 28, 30, and 50

that the Department withheld pursuant to Exemption 5, the Department’s motion is GRANTED

and Plaintiffs’ cross-motion is DENIED; it is further

       ORDERED that, with respect to the portions of documents that the Department withheld

pursuant to Exemptions 6 and 7(C), the Department’s motion is DENIED without prejudice and

Plaintiffs’ cross-motion is DENIED without prejudice; it is further

       ORDERED that, with respect to the portions of Documents 6, 11, 20–23, 27, 50, and all

but one portion of Document 21 that the Department withheld pursuant to Exemption 7(E), the

Department’s motion is GRANTED and Plaintiffs’ cross-motion is DENIED; it is further

       ORDERED that, with respect to the remaining portions of documents that the

Department withheld pursuant to Exemption 7(E)—the portions withheld from Document 25 and

one redaction from Document 21—, the Department’s motion is DENIED without prejudice and

Plaintiffs’ cross-motion is DENIED without prejudice; it is further




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       ORDERED that, with respect to the portions of records that the Department seeks to

withhold pursuant to Exemption 7(F), the Department’s motion is DENIED as moot pending any

further efforts by the Department to secure the return of those records; and it is further

       ORDERED that, with respect to the Department’s request that the Court order the return

of inadvertently released records, the Department’s motion is DENIED without prejudice.

       SO ORDERED.



                                                      /s/ Randolph D. Moss
                                                      RANDOLPH D. MOSS
                                                      United States District Judge


Date: April 26, 2022




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